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                                   UNITED STATES DISTRICT COURT
                                     DISTRICT OF RHODE ISLAND

   ---------------------------------------------------------------X
   JOHN DOE,                                                      :
                                                                  :   Civil Action No. 1:15-cv-144-S-LDA
                                       Plaintiff,                 :
                                                                  :
                     -against-                                    :
                                                                  :
   BROWN UNIVERSITY,                                              :
   in Providence in the State of Rhode Island                     :
   and Providence Plantations,                                    :
                                                                  :
                                       Defendant.                 :
   ---------------------------------------------------------------X


       PLAINTIFF JOHN DOE’S MEMORANDUM IN SUPPORT OF OBJECTION TO
      BROWN UNIVERSITY’S MOTION FOR PARTIAL SUMMARY JUDGMENT AND
               CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT


                                                        PLAINTIFF JOHN DOE
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                                           INTRODUCTION

          Defendant Brown University discriminated against Plaintiff John Doe when it summarily

   removed him from campus, rushed through a sexual misconduct “investigation,” found him

   “responsible” for sexual misconduct he did not commit following an unfair hearing and imposed

   an excessive 2.5-year sanction, all in violation of University student conduct policies. The

   summary judgment record contains extensive evidence of gender bias in the form of statements

   by decision makers, decision making patterns and articulated reasons for decisions they made

   that are unworthy of credence and a pretext for discrimination. The record thus provides an

   ample basis for a jury to infer “erroneous outcome” Title IX gender discrimination using the

   classic burden-shifting framework under federal law.

          With that said, the facts of this case go beyond the actions of a few biased officials.

   Instead, these officials acted within a culture which the University promoted in response to

   protests in the Spring of 2014 led by a student (Lena Sclove) who asserted that Brown University

   violated Title IX, culminating in the development and introduction of a new Title IX program

   one year later. Plaintiff’s case was heard during this intervening year of transition.

          The evidentiary record also allows a reasonable fact finder to draw a line of inferences

   that begins with the gender-based demands of the student protesters, continues with the

   University’s sponsorship of a public discussion of gender-based values and norms, follows with

   a disregard of Plaintiff’s presumption of innocence and other due process rights, and concludes

   with an excessive sanction.      Connecting the protests to Plaintiff’s case are three Brown

   University officials: (i) Professor Gretchen Schultz, who served as Chair of Lena Sclove’s

   Student Conduct Board panel, the Sexual Assault Task Force that formed in response to the

   protests, and the Chair of the Student Conduct Board panel that heard John Doe’s case; (ii) Vice



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 President Margaret Klawunn, who was criticized for her role in the Lena Sclove case; and (iii)

 President Christina Paxson, who made unprecedented use of her platform to shape debate in this

 area. At three critical stages of Plaintiff’s case, these connections led to decisions that sacrificed

 Plaintiff’s rights as a student, not to mention his education and career aspirations, on the altar of

 appeasement. 1

        In the second part of this Memorandum, Plaintiff presents an argument in support of his

 cross-motion for partial summary judgment with regard to liability for the Third Cause of Action

 (breach of contract) and part (ii) of the Seventh Cause of Action (declaratory judgment that the

 University’s findings of misconduct are illegal, null and void).

 I.     Legal Standard

        A.        Summary Judgment

        Summary judgment is properly granted where the pleadings, the discovery and disclosure

 materials on file, and any affidavits show that “there is no genuine issue as to any material fact

 and that the movant is entitled to a judgment as a matter of law.” Gerffert Co., Inc. v. William J.

 Hirten Co., LLC, 815 F.Supp.2d 521, 534 (D.R.I. 2011) (quoting Fed.R.Civ.P. 56(c)).                 A

 “genuine” issue:

        is one "that properly can be resolved only by a finder of fact because [it] may reasonably
        be resolved in favor of either party." Put another way, a "genuine" issue exists if there is
        "sufficient evidence supporting the claimed factual dispute" to require a choice between
        "the parties' differing versions of the truth at trial." A "material" issue is one that



 1
        See Exhibit 68 (Report of Suzanne M. Miller, MD, “Assessment of Chances of Medical
        School Admission” dated August 2017) (“Prior to the suspension, [John Doe] was on
        track to be an extremely competitive applicant to gain acceptance not just to an allopathic
        medical school in the US, but to a top 10 medical school.” p. 15. However, “his
        institutional action record continues, to a reasonable degree of certainty, to decrease his
        chance of acceptance to top 10 institutions to <1% and diminishes his chance of
        acceptance to any medical school to <20%.” p. 20


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        "affect[s] the outcome of the suit," that is, an issue which, perforce, "need[s] to be
        resolved before the related legal issues can be decided."

 Maldonado-Denis v. Castillo-Rodriguez, 23 F.3d 576, 581 (1st Cir. 1994). In ruling on a motion

 for summary judgment brought by a defendant, the Court will “draw all reasonable inferences

 from the facts in plaintiff’s favor.” Zapata–Matos v. Reckitt & Colman, Inc., 277 F.3d 40, 42 (1st

 Cir. 2002).

        Reversing the district court’s summary judgment in favor of an employer in a gender

 discrimination case, the First Circuit in Lipsett v. Univ. of Puerto Rico, 864 F.2d 881, 895 (1st

 Cir. 1988), judgment aff’d, 759 F.Supp. 40 (D.P.R. 1991) described the fact finder’s role in

 determining discriminatory intent as follows:

        Moreover, the test remains particularly rigorous when the disputed issue turns on a
        question of motive or intent. See Poller, 368 U.S. at 473, 82 S.Ct. at 491 ("summary
        judgment procedures should be used sparingly ... where motive and intent play leading
        roles"); cf. Pullman-Standard v. Swint, 456 U.S. 273, 287-88, 102 S.Ct. 1781, 1789-90,
        72 L.Ed.2d 66 (1982) (whether a defendant's behavior reflected an intent to discriminate
        is a pure question of fact). "Under such circumstances, jury judgments about credibility
        are typically thought to be of special importance." Stepanischen v. Merchants Despatch
        Transp. Corp., 722 F.2d 922, 928 (1st Cir.1983). In a discriminatory discharge case,
        particularly, a plaintiff "will rarely, if ever be able to produce a 'smoking gun' that
        provides direct, subjective evidence of an employer's [animus]. Rather, a plaintiff must
        try to convince the fact-finder to draw an inference from a broad array of circumstantial
        and often conflicting evidence...." Id. at 929.
        B.      The Title IX “Erroneous Outcome” Standard

        Congress enacted Title IX of the Education Amendments of 1972 to supplement the Civil

 Rights Act of 1964’s ban on racial discrimination in the workplace and in universities. “Because

 the statutes share the same goals and because Title IX mirrors the substantive provisions of Title

 VI of the Civil Rights Act of 1964, courts have interpreted Title IX by looking to the body of law

 developed under Title VI, as well as the case law interpreting Title VII.” Yusuf v. Vassar Coll.,




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 35 F.3d 709, 714 (2d Cir. 1994). Title IX bars the imposition of university discipline where

 gender is a motivating factor in the decision to discipline. Yusuf, 35 F.3d at 715.

        In Yusuf, the Second Circuit held that a plaintiff’s challenge to a university disciplinary

 proceeding on grounds of gender bias can proceed in two principal ways, namely (i) erroneous

 outcome; or (ii) selective enforcement. In its decision on Brown University’s Motion to Dismiss,

 Doe v. Brown University, 166 F.3d 177 (D.R.I. 2016) (referred to below as “MTD Decision”),

 the Court defined the elements of a Title IX “erroneous outcome” case in this way:

        A plaintiff making an erroneous outcome claim must first “allege particular facts
        sufficient to cast some articulable doubt on the accuracy of the outcome of the
        disciplinary proceeding.” Id. Once the plaintiff has established doubt concerning the
        accuracy of the proceeding, they must next “allege particular circumstances suggesting
        that gender bias was a motivating factor behind the erroneous finding.” Id. (citations
        omitted). The Yusuf court noted that “[s]uch allegations might include, inter alia,
        statements by members of the disciplinary tribunal, statements by pertinent university
        officials, or patterns of decision-making that also tend to show the influence of gender.”
        Id.

 Doe v. Brown University, 166 F.Supp. 3d 177, 185 (D.R.I. 2016) citing Yusuf, supra.

        The Yusuf standard has gained broad acceptance nationally. See Doe v. Cummins, 662 F.

 App'x 437 (6th Cir. 2016); Doe v. Columbia Univ., 831 F.3d 46, 53 (2d Cir. 2016); Plummer v.

 Univ. of Houston, 860 F.3d 767, 777 (5th Cir. 2017), as revised (June 26, 2017).

        C.      The Title VII Burden-Shifting Framework

        In Doe v. Columbia University, 831 F.3d 46 (2d Cir. 2016), the Second Circuit applied by

 analogy the framework of shifting burdens of proof of discriminatory intent that courts apply in

 Title VII employment cases, stating the following:

        We also adopted Title VII’s requirement of proof of discriminatory intent, and stated that
        “[a]llegations of a causal connection in the case of university disciplinary cases can be of
        the kind that are found in the familiar setting of Title VII cases.” Id. at 714–15. Yusuf
        made clear that Title VII cases provide the proper framework for analyzing Title IX
        discrimination claims. We therefore hold that the temporary presumption afforded to



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        plaintiffs in employment discrimination cases under Title VII applies to sex
        discrimination plaintiffs under Title IX as well.

        Thus, a complaint under Title IX, alleging that the plaintiff was subjected to
        discrimination on account of sex in the imposition of university discipline, is sufficient
        with respect to the element of discriminatory intent, like a complaint under Title VII, if it
        pleads specific facts that support a minimal plausible inference of such discrimination.

 Columbia University, supra, 831 F.3d at 54-55. See also MTD Decision, 166 F.Supp. 3d at 184

 (noting analogy to Title VII). As “smoking gun” proof of discrimination is rare, a plaintiff

 ordinarily uses circumstantial evidence to meet the test set out in McDonnell Douglas. See

 Chadwick v. WellPoint, Inc., 561 F.3d 38, 46 (1st Cir. 2009) (“[a] plaintiff is entitled to prove

 discrimination by circumstantial evidence alone.”)

        The First Circuit defines the Title VII employment discrimination framework espoused in

 McDonnell Douglas Corp. v. Green in this way:

        In evaluating a claim of discriminatory hiring under Title VII, we apply the burden-
        shifting framework laid out in McDonnell Douglas Corp. v. Green, 411 U.S. 792, 93
        S.Ct. 1817, 36 L.Ed.2d 668 (1973), where, as here, there is no direct evidence of
        discrimination. Under that framework, the plaintiff carries the initial burden of
        establishing a prima facie case of discrimination. Id. at 802. To establish a prima facie
        case, the plaintiff must show the following: (1) he is a member of a protected class; (2) he
        was qualified for the position to which he applied; (3) he applied to that position and was
        not hired; and (4) the position to which he applied was filled by a person possessing
        similar or inferior qualifications. Ahern v. Shinseki, 629 F.3d 49, 54 (1st Cir. 2010). If a
        plaintiff establishes a prima facie case, then the burden of production shifts to the
        employer, who must articulate a legitimate, nondiscriminatory reason for the challenged
        hiring decision. Id. If the employer articulates such a reason, then the burden of
        production reverts to the plaintiff, who must offer evidence tending to prove that the
        reason offered by the employer is a pretext for discrimination. Id.

 Cruz v. Mattis, 861 F.3d 22, 25 (1st Cir. 2017).
        In describing the third element (pretext), the First Circuit (in Gomez-Gonzalez v. Rural

 Opportunities, Inc., 626 F.3d 654, 662 (1st Cir. 2010)) stated:

        Pretext can be shown by such weaknesses, implausibilities, inconsistencies,
        incoherencies, or contradictions in the employer's proffered legitimate reasons for its
        action that a reasonable fact finder could rationally find them unworthy of credence and
        hence infer that the employer did not act for the asserted non-discriminatory reasons.

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        Morgan v. Hilti, Inc., 108 F.3d 1319, 1323 (10th Cir.1997) (internal quotation marks and
        citations omitted).

 See also Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133, 146, 120 S.Ct. 2097, 2108

 (2000) (“The factfinder’s disbelief of the reasons put forward by the defendant (particularly if

 disbelief is accompanied by a suspicion of mendacity) may, together with the elements of the

 prima facie case, suffice to show intentional discrimination. Thus, rejection of the defendant’s

 proffered reasons will permit the trier of fact to infer the ultimate fact of intentional

 discrimination”); Soto-Feliciano v. Villa Cofresi Hotels, Inc., 779 F.3d 19, 29 (1st Cir. 2015)

 (citing and applying Gomez-Gonzalez to vacate district court summary judgment in favor of

 employer and remand for trial).

        Plaintiff will present a prima facie case that (1) he is male, (2) he was not responsible for

 the violations for which he was sanctioned, (3) he was found responsible and sanctioned, (4) the

 outcome of the proceeding was not accurate, and (5) he has evidence of gender bias. If Plaintiff

 meets this initial burden, Defendant has the burden of articulating a nondiscriminatory reason for

 the adverse action (in this case, finding John Doe responsible).        For the purposes of this

 Objection, Plaintiff will assume that Brown’s articulated reason will be that Plaintiff was subject

 to a proper disciplinary proceeding. If Brown meets its burden, then Plaintiff has the burden to

 prove that Brown’s reason was a “pretext for discrimination.”

        In proving that Brown’s stated reason was a “pretext for discrimination,” following

 Yusuf, Plaintiff first will present evidence of “patterns of decision making” and “statements by

 members of the disciplinary tribunal, statements by pertinent university officials, or patterns of

 decision-making that also tend to show the influence of gender.” Plaintiff will then present

 evidence to rebut Brown University’s articulated reason for the adverse action against John Doe

 that will demonstrate “such weaknesses, implausibilities, inconsistencies, incoherencies, or

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 contradictions in [Brown’s] proffered legitimate reasons for its action that a reasonable factfinder

 could rationally find them unworthy of credence and hence infer that [Brown] did not act for the

 asserted non-discriminatory reasons.”

        D.      Inferring Discrimination from the Institution’s Response to Criticism

        In Doe v. Columbia University, 831 F.3d 46, 57-58 (2d Cir. 2016), the Second Circuit

 described how institutional responses to campus protests may provide evidence of gender

 discrimination, stating the following:

        As outlined above, the Complaint alleges that during the period preceding the
        disciplinary hearing, there was substantial criticism of the University, both in the student
        body and in the public media, accusing the University of not taking seriously complaints
        of female students alleging sexual assault by male students. It alleges further that the
        University’s administration was cognizant of, and sensitive to, these criticisms, to the
        point that the President called a University-wide open meeting with the Dean to discuss
        the issue. Against this factual background, it is entirely plausible that the University’s
        decision-makers and its investigator were motivated to favor the accusing female over the
        accused male, so as to protect themselves and the University from accusations that they
        had failed to protect female students from sexual assault.

        Columbia argues that the pleaded facts do not support an inference of intentional sex
        discrimination. It argues that the criticism of the University was for not taking student
        complaints of sexual assault seriously, and that any motivation on the part of the panel to
        demonstrate that it takes such complaints seriously is not the same thing as a motivation
        to discriminate against an accused male student. The district court stated that any bias in
        favor of Jane Doe “could equally have been — and more plausibly was — prompted by
        lawful, independent goals, such as a desire (enhanced, perhaps, by the fear of negative
        publicity or Title IX liability to the victims of sexual assault) to take allegations of rape
        on campus seriously and to treat complainants with a high degree of sensitivity.” Doe v.
        Columbia Univ., 101 F.Supp.3d 356, 371 (S.D.N.Y. 2015). This reasoning fails to
        recognize the court’s obligation to draw reasonable inferences in favor of the sufficiency
        of the complaint. Iqbal does not require that the inference of discriminatory intent
        supported by the pleaded facts be the most plausible explanation of the defendant’s
        conduct. It is sufficient if the inference of discriminatory intent is plausible.

        The Complaint alleges that, having been severely criticized in the student body and in the
        public press for toleration of sexual assault of female students, Columbia was motivated
        in this instance to accept the female’s accusation of sexual assault and reject the male’s
        claim of consent, so as to show the student body and the public that the University is
        serious about protecting female students from sexual assault by male students—
        especially varsity athletes. There is nothing implausible or unreasonable about the


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        Complaint’s suggested inference that the panel adopted a biased stance in favor of the
        accusing female and against the defending male varsity athlete in order to avoid further
        fanning the criticisms that Columbia turned a blind eye to such assaults.

 (emphasis in original, footnote omitted.)

        Though this decision concerned a motion to dismiss, the Second Circuit’s Columbia

 University opinion makes two important legal findings that are directly applicable here. First, the

 Court identified an institution’s response to protests, both among students and the media, as

 potential motivation for bias. Second, the Columbia decision recognized that a reasonable jury

 could find that certain protests and University responses in favor of victims and against

 perpetrators could be viewed as favorable to female victims and against male respondents, thus

 triggering a finding of gender bias under Title IX.2

        While courts have applied Columbia University’s holding to deny motions to dismiss, see

 e,g, Rolph v. Hobart and William Smith Colleges, 271 F.Supp. 3d 386 (W.D.N.Y. 2017), to

 Plaintiff’s knowledge, no plaintiff has presented sufficient evidence at the summary judgment

 stage to sustain a cause of action under this theory.

        In a case extensively cited and quoted by Defendant in its Memorandum in Support of

 Motion for Partial Summary Judgment, the Northern District of New York granted summary

 judgment against a plaintiff who advanced this theory. See Doe v. Colgate University, 2017 U.S.

 Dist. LEXIS 180267 (N.D.N.Y. Oct. 31, 2017), notice of appeal filed, Case No. 17-cv-03594 (2d

 Cir. November 3, 2017). Plaintiff cautions this Court against drawing too many conclusions

 from the Colgate University holding, given that Colgate is under review before the Second


 2
        See Doe v. Miami Univ., 2018 U.S. App. LEXIS 3075 (6th Cir. February 9, 2018) (in
        denying University’s motion to dismiss, the Sixth Circuit found when “[t]aken together,
        the statistical evidence that ostensibly shows a pattern of gender-based decision-making
        and the external pressure on Miami University supports at the motion-to-dismiss stage a
        reasonable inference of gender discrimination.”)

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 Circuit. In that way, Defendant’s reliance on Colgate presents the same risk of obsolescence that

 invalidated the multiple references in Defendant’s Memorandum in Support of Motion to

 Dismiss (CM/ECF 10-1) to the later-reversed trial court decision in Doe v. Columbia University,

 101 F.Supp. 3d 356 (S.D.N.Y. 2015), rev’d, 831 F.3d 46 (2d Cir. 2016). Just as this Court, in its

 MTD Decision, was cautious in its analysis and application of the Doe v. Columbia trial court

 decision, so should it be cautious in analyzing and applying Doe v. Colgate University here. The

 undersigned lead counsel, who represent the appellant in Doe v. Colgate University, will pursue

 that appeal with the same vigor that produced a successful result in Doe v. Columbia University.

         With that said, even if one assumes (for the sake of discussion only) that Colgate

 University was correctly decided, the summary judgment record described by that court in its

 decision is substantially different from the summary judgment record here.3 The Colgate court’s

 record (as described in its decision) did not contain evidence that the student protests were

 gender-based. The Colgate court found that the plaintiff presented “insufficient evidence to

 permit a reasonable jury to find that Colgate faced pressure that caused gender bias to infect his

 EGP [disciplinary] hearing.”      The Colgate district court described the summary judgment

 evidence of discrimination as follows:

        the campus protests by a student group did not support a Columbia University type claim
         because “it sought to raise awareness of sexual assault at Colgate, making no distinction
         between male and female victims.

        A University official’s testimony that campus tour guides were trained to inform parents
         of the University’s strict sexual misconduct policies “contain no reference to gender.”

        A publication written by the University President “acknowledged that both men and
         women can be victims of sexual assault, and makes no reference to men as aggressors or
         women as victims.”

 3
         As part of his appeal, the plaintiff in Doe v. Colgate University expects to seek appellate
         review of the adequacy and accuracy of the District Court’s description of the summary
         judgment record of undisputed facts.
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        Similarly, in Doe v. Trustees of Boston College, 2016 WL 5799297 (D. Mass.), appeal

 pending, Case No. 16-2290 (First Circuit), the district court granted summary judgment because,

 in its view, the plaintiff failed to provide evidence linking the protests to the University’s

 administration of his disciplinary case, see id. at *25 (“Doe provides no evidentiary support to

 show how these outside pressures have influenced the disciplinary proceedings and review to

 which Doe was subjected”).

        The cautious approach other district courts have adopted in early cases reviewing

 Columbia University-type claims at the summary judgment stage is not surprising. Student

 protests have always been a part of university life generally, and in recent years campus protests

 over a university’s sexual misconduct policies have become prevalent.          Plaintiff submits,

 however, that the record here goes beyond a garden variety campus protest (or even a garden

 variety Brown University campus protest). Instead, Plaintiff will present an extensive record of

 specific evidence and reasonable inferences therefrom, rather than asking the fact finder to leap

 to speculative conclusions. As described below, the summary judgment record here includes

 evidence of (1) gender-based student protests, (2) a gender-based University response to the

 protesters, and (3) specific instances in which the protests and the response affected Plaintiff’s

 disciplinary case.

 II.    ARGUMENT

        In addition to submitting a separate Statement of Disputed Facts and Inferences that

 undercut the factual record on which Defendant’s motion is based, Plaintiff also presents

 sufficient evidence to raise questions of fact as to (i) whether Brown reached an erroneous

 outcome when it found John Doe responsible for violations of Brown’s policies, and (ii) whether

 that finding was motivated by gender bias.


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        A.      Plaintiff has sufficient evidence to cast articulable doubt on the accuracy of
                the outcome reached
        Plaintiff’s first evidentiary burden under Yusuf is to present evidence that is “sufficient to

 cast some articulable doubt on the accuracy of the outcome of the disciplinary proceeding.”

 Yusuf, 35 F.3d 709, 714-15 (2d Cir. 1994). The Yusuf court described that burden this way:

         [T]he pleading burden in this regard is not heavy. For example, a complaint may allege
        particular evidentiary weaknesses behind the finding of an offense such as a motive to lie
        on the part of a complainant or witnesses, particularized strengths of the defense, or other
        reason to doubt the veracity of the charge. A complaint may also allege particular
        procedural flaws affecting the proof.

 Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir. 1994).

        In support of his prima facie “erroneous outcome” case, Plaintiff attaches as Exhibit 1 the

 Declaration he previously filed in support of his Motion for Preliminary Injunction with

 associated exhibits (CM/ECF 28-4).4 In Paragraph 2 of the Declaration, Plaintiff verifies as true

 all the allegations in the Complaint of which he has personal knowledge, while attaching (and

 authenticating) certain documents from his case.          On this basis, most of the allegations

 considered by the Court in its MTD Decision are now part of the Rule 56(c) record for the

 purpose of the motions before the Court.

        The Complaint (as verified by John Doe to the extent of his personal knowledge) is

 replete with evidence that casts articulable doubt on the accuracy of the result of the outcomes

 reached in the succeeding stages of his case (removal from campus, lack of investigation, biased

 hearing, excessive sanction and flawed appellate process). Subsequent paragraphs of the

 Declaration supplement and emphasize those doubts. For example, Paragraphs 7-9 of John

 Doe’s testimony in his Declaration states as follows:


 4
        To ensure compliance with all formal requirements, Plaintiff also submits under seal an
        Affidavit (Exhibit 2) confirming his identity verifying his testimony in the Declaration.


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       7.     Specifically, in reaching its erroneous decision, Brown overlooked the evidence
              which clearly demonstrated Jane Doe consented to the sexual encounter, for
              instance:

                     Prior to mutually agreeing to go back to my room, Jane Doe texted
                      her friends that she might be about to “hook up” with me.5

                     When we entered my room, we began kissing and touching, which
                      Jane Doe participated in passionately, as demonstrated by her
                      kissing and biting my neck, leaving a noticeable bruise.

                     When someone knocked at my door, we both jumped up out of
                      embarrassment. Had Jane Doe felt uncomfortable, she could have
                      left at this time or called for help. However, she never attempted to
                      leave my room, nor did she state a desire to do so.

                     To confirm Jane Doe’s consent, I explicitly asked “do you like
                      this? Jane Doe provided consent when she stated “yes” and then
                      guided my hand and told me to rub her in a certain way. At no time
                      did she state that she did not want me to touch her.

       8.     Further, in reaching its erroneous decision, Brown disregarded the countless
              inconsistencies between and within Jane Doe’s two statements, including:

                     In the Oct. 18 Complaint, Jane Doe states I wrapped my arms around her,
                      told her she was “so beautiful” and led her to the bed; however, in the
                      Oct. 17 interview, she claims I walked towards her, forced her to walk
                      backward and pushed her on the bed. See October 17 Public Safety
                      Report, Exhibit 1 hereto; October 18 Complaint, Exhibit 2 hereto.6

                     Facebook photographs of Jane Doe taken less than 24 hours after the
                      encounter show no visible marks on her lips or neck, contradicting her
                      claims that I kept biting her lip, bit her neck really hard and “gnawed at
                      the skin and pulled away so that it really hurt.

                     Jane Doe’s medical records do not report any bruising on her lips or neck,
                      and in fact specifically note “no marks on neck seen.” The exam further
                      noted “normal external female genitalia,” “no skin abrasions,” and that an
                      internal exam was “declined by patient.” See medical records of Jane
                      Doe, Exhibit 3 hereto.


 5
       See Exhibit 3 (witness statements).

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                       Jane Doe’s medical report noted a few yellow bruises, indicating that a
                        considerable amount of time had passed since they were sustained, and
                        they were not in the locations where she claimed to have been bruised.
                        See Exhibit 3 hereto.

                       In the Oct. 18 Complaint, she states that she lay on top of me when we
                        kissed, but in her Oct. 17 interview, she states I climbed on top of her,
                        continued to kiss her, and bit her lips and neck several times in an
                        aggressive nature. See Exhibit 1 hereto; Exhibit 2 hereto.

        9.      In addition to the lack of evidence against me, there were numerous procedural
                flaws that resulted in the erroneous outcome. For instance:

                       Brown failed to retrieve documentary evidence (text messages) referred to
                        by Jane Doe’s witnesses where she advised her friends that she felt safe
                        with me.

                       Brown failed to interview the witnesses identified in support of my
                        defense before initiating formal charges against me; in contrast, Brown
                        contacted all of Jane Doe’s witnesses and collected statements from them
                        prior to providing me with formal notice of the charges.

                       Brown failed to afford me 7 business days to review all materials that
                        would be presented at the disciplinary hearing when it waited until less
                        than 4 days before the hearing to provide me with a package of 80 pages
                        of critical evidence and procedural information, including an additional 23
                        unsigned, unsworn statements, an addendum by Jane Doe and Jane Doe’s
                        medical records from October 15, 2014. See Exhibit A to Complaint,
                        (Code), and p. 11.

                        . . .

        See Exhibit 4 (Report of Brett A. Sokolow dated September 1, 2017) and Exhibit 5

 (Deposition of Brett A. Sokolow dated November 17, 2017) identifying procedural violations

 and errors that led to an erroneous finding of responsibility; see also Plaintiff’s Cross-Motion for

 Summary Judgment, pp. 54-77, infra, which provides more evidence concerning Defendant’s

 violation of Plaintiff’s procedural rights under the Code of Student Conduct. In these ways, the




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 summary judgment record contains more than enough evidence to satisfy Plaintiff’s initial

 burden of production for an “erroneous outcome” case under Yusuf.

         B.      Plaintiff has made a prima facie case of discrimination to satisfy the first
                 prong of the McDonnell Douglas burden-shifting framework

         Plaintiff’s Declaration also satisfies his initial burden of production under the McDonnell

 Douglas framework (see pp. 5-6 supra) as it provides evidence supporting his contentions that

 (1) he is male, (2) he was not responsible for the violations for which he was sanctioned, (3) he

 was found responsible and sanctioned, (4) the outcome of the proceeding was not accurate, and

 (5) he has evidence of gender bias.

         C.      Plaintiff has evidence of “particular circumstances suggesting that gender
                 bias was a motivating factor” in the University’s disciplinary action against
                 him and that Brown’s actions were a pretext for discrimination

         Assuming that Brown articulates the non-discriminatory reason that its disciplinary

 process was a valid exercise of its authority, Plaintiff’s next burden is to provide evidence of

 “particular circumstances suggesting that gender bias was a motivating factor behind the

 erroneous finding” which “might include, inter alia, statements by members of the disciplinary

 tribunal, statements by pertinent university officials, or patterns of decision-making that also tend

 to show the influence of gender.” See p. 4, supra (MTD Decision, quoting Yusuf).

         Plaintiff will now present four types of evidence that gender bias (as opposed to “anti-

 respondent” bias) was a motivating factor: (1) statements and actions of University officials, (2)

 patterns of decision making, (3) evidence of pretext and (4) evidence of an institutional response

 to criticism.

                 1.     Statements and Actions of University officials

         John Doe’s disciplinary case went through several stages (complaint, removal from

 campus, investigation, presentation of charges, pre-hearing discovery, hearing, sanction and

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 appeal), and different University officials were involved in one or more of these stages. In other

 contexts, courts have found sufficient evidence of discrimination from intermediate stages. For

 example, in the employment discrimination context, the Second Circuit held that gender-

 stereotypical remarks made during an investigation were sufficient evidence to require a trial.

 See Sassaman v. Gamache, 566 F.3d 307, 314-55 (2d Cir. 2009) (“[t]he more a remark evinces a

 discriminatory state of mind, and the closer the remark's relation to the allegedly discriminatory

 behavior, the more probative that remark will be.”) See also Holcomb v. Iona Coll., 521 F.3d

 130, 143 (2d Cir. 2008); Back v. Hastings On Hudson Union Free Sch. Dist., 365 F.3d 107, 125-

 26 (2d Cir. 2004) (An “impermissible bias of a single individual at any stage of the promoting

 process may taint the ultimate employment decision .... even absent evidence of illegitimate bias

 on the part of the ultimate decision maker, so long as the individual shown to have the

 impermissible bias played a meaningful role in the ... process.”)

        Within this framework, Plaintiff will present evidence regarding statements and actions

 of three University officials, namely Professor Gretchen Schultz, Vice President Margaret

 Klawunn, and Dean Yolanda Castillo, that demonstrate gender bias.

                       a.      Professor Schultz

        Professor Gretchen Schultz served as Chair of the Student Conduct Board panel that

 heard John Doe’s case. See Exhibit 6 (Schultz Deposition, p. 15). Plaintiff contends that

 Professor Schultz contributed to the erroneous outcome in his case by finding him responsible

 for misconduct of which he was innocent and which was not supported by the testimony and

 documents before the Student Conduct Board panel.           Plaintiff also presents evidence that

 Professor Schultz violated his procedural rights during the Hearing itself, by denying him the

 opportunity to make a “midpoint” statement (see pp. 64-66, infra) and encouraging witnesses to



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 present negative character testimony against Plaintiff as part of a proceeding in which the case

 administrator (Dean Castillo) excluded favorable character witness testimony that Plaintiff

 attempted unsuccessfully to introduce.     See pp. 71-72 and PSDF Exhibit 31 (“wing man”

 episode), infra.

        More specifically, Plaintiff contends that Professor Schultz denied him the presumption

 of innocence (or an absence of responsibility) because (1) he was male, (2) he was a member of a

 fraternity and (3) both he and Jane Doe consumed moderate amounts of alcohol during the night

 of their encounter. Plaintiff contends that Professor Schultz either developed or reinforced her

 biases and prejudgments of Plaintiff’s case through her work on the University’s Sexual Assault

 Task Force (SATF). The SATF’s one-year work schedule overlapped with Plaintiff’s November

 21, 2014 Student Conduct Board hearing, as it was formed in the Spring of that year and issued

 reports in December, 2014 (Interim Report) and March, 2015 (Final Report). The Interim Report

 began with a clarion call for fundamental change, stating the following:

        The goal of our Interim Report, and our Final Report which will follow in March 2015, is
        therefore crystal clear: the current norms and culture of the Brown University campus are
        not acceptable, and as a community we must seek in word and deed to fundamentally
        change that culture in order to ensure that the Brown campus is a safe and welcoming
        place to learn, teach, conduct research, work, and live for all members of the community.

 Exhibit 7 (emphasis in original).

        In her deposition, Professor Schultz’s commentary on this portion of the report revealed

 her baseline views concerning the interaction of men, fraternities (whose members are

 exclusively male), alcohol and sexual assault as follows:

        Q.      Okay. Can you describe your view of the culture at Brown that you sought to
                change?

        A.      Well, I think, for example, of some fraternities that had a reputation for boasting
                about sexual conquest. It by no means is referring to the entire community. It
                talks about a small number of Brown Community members who commit acts of
                harassment and violence. So the effort was to address through development,
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                training, to try to change that culture in the sense of entitlement to sexual
                conquest where it existed.

        Q.      And so when it's -- when you see the part of the sentence on the next page which
                states "...enables and empowers the small number of Brown Community members
                who commit acts of sexual and gender-based harassment and violence." Do you
                see that?

        A.      Yes.

        Q.      How did the culture at Brown lend itself to that conclusion?

         A.     What I believe the sentence to be saying is that assumptions having to do with the
                automatic privilege of this sort of spirit of sexual conquest was something that
                needed to be addressed and questioned.

        Q.      What do you mean "the spirit of sexual conquest"?

        A.      Well, what I'm talking about is how some boys grow into manhood learning
                around them that it's okay to -- pardon my language -- get pussy in any way
                possible. That's what I mean.

        Q.      And did you view [John Doe] as someone like that?

        A.      Did I view him like that? I wasn't thinking of him when I was reviewing this
                sentence, but I would say that he was someone who wouldn't take "No" for an
                answer.

        . . .

        Q.      So he would fall into the category of Brown Community members who commit
                acts of sexual violence, correct?

        A.      Yes. You could say that.

 Exhibit 8 (Schultz Deposition, pp. 307-09) (emphasis added).

        Moreover, Professor Schultz links the predatory intentions of men and fraternities to the

 use of alcohol as a weapon, stating the following:

        Q.      Okay. If we keep going, where it says "underlying cultures and norms," what
                underlying cultures and norms did you feel needed to be addressed?




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         A.      Well, for example, the sense in some fraternities that it was acceptable to try to
                 get first year students, female students intoxicated and -- in order to more easily
                 sleep with them.

 Exhibit 8 (Schultz Deposition pp. 311-12).

         Finally, Professor Schultz confirmed her agreement with the statement that “Our larger

 culture is saturated with misogynistic and often violent representations of sex and sexuality.”

 Exhibit 8 (Schultz Deposition, p. 323:12-22).

         Professor Schultz likewise demonstrated her bias against male respondents and the

 presumption of innocence when she stated the following:

         Q.      Do you believe that a sexual assault victim is more likely than not telling the
                 truth?
         MR. RICHARD: Objection. You can answer.
         A.      Yes.
         Q.      You do believe that?
         A.      Yes.
         Q.      And why is that?
         A.      Because I don't see why anyone would want to make false accusations and put
                 them through -- themselves through such a process for no reason.

 Exhibit 9. Moreover, she confirmed her belief that false allegations are rare (Exhibit 8, Schultz

 Deposition, p. 322: 5-21) leaving an accused male student to fight an uphill battle.

         Through her candid, if crude testimony, Professor Schultz demonstrated that she began

 her consideration of John Doe’s case with fixed, stereotypical views concerning men, fraternities

 (which are populated exclusively by men), alcohol and how they combine to lead to sexual

 predation specifically by men and specifically upon women, all of which provide a gender-based

 motivation for her to deny Plaintiff a fair hearing.




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                        b.    Vice President Klawunn

        As Vice President of Campus Life and Student Services, Margaret Klawunn had a

 prominent role in John Doe’s case. In addition to having general supervisory authority over the

 entire Student Conduct Board process, Ms. Klawunn made and/or contributed to decisions to (1)

 remove John Doe completely from the Brown University campus as an “interim” remedy before

 an investigation took place, (2) charge him with four violations of the Code of Student Conduct,

 (3) impose a sanction of 2.5-years, and (4) she also participated in the decision to deny his

 request to postpone the hearing past November 21, 2014. See Exhibits 25 (Klawunn Deposition),

 44 (Brown 355 – removal letter).7 The summary judgment record contains evidence that her

 decisions were substantially motivated by a background prejudice linking men, fraternities and

 alcohol to sexual assault.

                              1.      The Web of Caring

        Prior to serving in the position of Vice President of Campus Life and Student Services,

 Ms. Klawunn in 1996 co-wrote an article stating her views about the ways in which fraternities

 provided a setting for men to sexually exploit women. The article appeared as a chapter entitled

 “The Web of Caring” in a book concerning campus life (Exhibit 10). In that article, Ms.

 Klawunn co-wrote:

        Even though men and women claim that both sexes get drunk in order to socialize more
        freely with each other, the difference becomes harmful when women are entering a social
        situation set up by men, as in a fraternity house, which is designed to make it easier for
        men to take advantage of women sexually. (p. 69)

        . . .
        In the fraternity setting, the socializing can (and often does) lead easily to acquaintance
        rape and sexual assault. (p. 70)



 7
        Later, Ms. Klawunn modified John Doe’s total campus ban to permit him to attend
        classes (but otherwise stay off campus). See p. 45, infra.
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        . . .

        With regard to alcohol consumption and sexual assault, the fact that fraternities become
        the buyers/sources/servers of alcohol, and that women enter fraternities in order to drink
        it, means that the two main conditions that tend to predispose women to sexual assault are
        institutionalized in some greek systems. . . . Because alcohol impairs judgment and
        weakens defenses, it becomes an agent in assisting a predator to acquire a victim. (p. 71)

        Earlier in the same article, the authors go further, clarifying that men are sexual

 predators, even without taking alcohol into consideration, stating:

        But alcohol cannot be said to have caused bigotry and prejudice or caused men to
        objectify women and appropriate them for exploitative purposes. These attitudes precede
        alcohol consumption, and a focus on alcohol will not seriously attend to the underlying
        problems. (p. 49)

        Through this article, Vice President Klawunn expressed the view that alcohol served at

 fraternity houses enables a male “predator” to take advantage of a female “victim.” In the case at

 bar, both Jane Doe and John Doe admitted to consuming moderate amounts of alcohol (in

 violation of the University’s policy against underage drinking), but Vice President Klawunn

 decided only to charge John Doe and not Jane Doe with a violation of Brown’s policy. Exhibit

 25 (Klawunn Deposition, pp. 283-284).

                               2.      The Adam Lack Case

        Vice President Klawunn’s first position at Brown University was to serve as Director of

 the Sarah Doyle Women’s Center. While employed there, she commented on a controversy

 involving Adam Lack, a Brown student who was charged with sexual misconduct, tried and

 exonerated. Though not employed by Brown at the time of Adam Lack’s case, Vice President

 Klawunn considered herself informed enough to make the following statement about other men

 defending Mr. Lack: “They are afraid that they have already been or will be the next Adam Lack.

 Many men see themselves as potentially in that situation or have already been in that situation.




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 This case has become a magnet for men who have skeletons in the closet.” See Exhibit 11

 (Brown Daily Herald article of April 29, 2010).

                               3.     Statement to James Doe

        On October 19, 2014, John Doe’s father James Doe met with his son and Vice President

 Klawunn to discuss the removal order. When James Doe questioned the necessity and basis for

 this extreme measure, Vice President Klawunn’s “direct response was to blame Obama, ‘He's

 forcing us to do this.’”    Exhibit 12 (James Doe Deposition, p. 20). While Vice President

 Klawunn did not elaborate on this reference, a jury could infer her comments were related to the

 fact that four months earlier, the United States Department of Justice, Office for Civil Rights

 opened a Title IX investigation of Brown University’s sexual misconduct policies and practices,

 as triggered by Lena Sclove. Exhibit 13. This investigation was reported in the Brown Daily

 Herald. Exhibit 14.

                       c.      Dean Castillo

        Dean Castillo held the position of Case Administrator, through which she was required to

 assist both complainant and respondent in preparing for the hearing. While the Code of Student

 Conduct designates certain participants (such as student advisor and student advocate) to have

 roles assisting either the complainant or the respondent exclusively, 8 one of the Case

 Administrator’s roles nominally is to assist both sides in an evenhanded manner.

        The record contains several instances in which Dean Castillo favored Jane Doe over John

 Doe with better information and access during their pre-hearing preparations. While Dean

 Castillo failed to respond to John Doe’s requests for information in violation of his rights under



 8
        Dean Castillo confirmed this role in her deposition testimony. See Exhibit 20 (Castillo
        Deposition, pp. 18-19).


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 the Code of Student Conduct (see pp. 62-64, infra), she went above and beyond the Code of

 Student Conduct’s requirements in helping Jane Doe, including these examples:9

               On November 4, 2014, Dean Castillo offered to provide Jane Doe with a copy of
                John Doe’s witness statement “in advance”, while not making a reciprocal offer to
                John Doe. See Exhibit 69 (Brown 1342).

               On November 6, 2014, Dean Castillo’s secretary Bianca Del Cid offered to
                provide Kisa Takesue, Jane Doe’s student advisor, with “any new information as
                soon as we received it,” whereas John Doe did not receive any additional witness
                statements until November 17, 2014, even though those statements were in some
                cases received by Defendant as early as November 13, 2014. See Exhibit 70
                (Brown 1380, 1385), Exhibit 60 (Brown 602).

               In a series of November 12, 2014 emails between and among Jane Doe, her
                private attorney, and her student advisor, Dean Castillo provided Jane Doe’s team
                with progress reports on her efforts to (1) obtain statements from the nurses at
                Women and Infants Hospital, (2) coordinate the testimony of the campus police
                officers, (3) contact the physician at University Health Services who treated Jane
                Doe, and (4) correspond with a potential student witness who could support Jane
                Doe’s case. See Exhibit 71 (Brown 1497-1503).

               In an email exchange during November 19-20, 2014 Dean Castillo corresponded
                with Detective Peck concerning their efforts use the medical records to build a
                case against John Doe concerning evidence of bruising. Exhibits 72 (Brown
                1607), 73 (Brown 1618-19)

        Dean Castillo also participated in the decision to deny John Doe’s requests for additional

 time to prepare for the hearing, which also prejudiced his case. See pp. 24-30, infra.

        Dean Castillo, whose career and personal history may have affected her objectivity

 (Exhibit 20 (Castillo Deposition, p. 22)) revealed a predisposition towards female complainants

 when she testified that “the person who is making the allegations has certainly suffered some

 kind of trauma that’s making them come forward with this.” Exhibit 20 (Castillo Deposition, p.

 262:14-16). She confirmed that in her personal view, the complainant is therefore a “victim” and

 a “survivor of some type of trauma.” Exhibit 20 (Castillo Deposition, p. 264:14-23).

 9
        Plaintiff provides additional examples of Dean Castillo’s unequal treatment of John and
        Jane Doe as part of his cross-motion for summary judgment.
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                2.     Patterns of decision making

        In pretrial discovery, Brown University produced a chart of information concerning all

 Student Conduct Board hearings conducted between 2011 and 2015 that included at least one

 charge of sexual misconduct (Offense III, IIIa and IIIb under the Code of Student Conduct.) See

 Exhibit 15 (filed under seal). According to that chart, Student Conduct Boards heard 31 cases

 involving at least one charge of sexual misconduct. In all of the cases, the Respondent was male.

 In 25 of them, the Complainant was female, while another five cases were brought by a male

 complainant. The last case was brought by the University on behalf of a female who was

 allegedly harmed by a male student. In short, there never has been a case before the Student

 Conduct Board in which a male student claimed to be harmed by sexual misconduct from a

 female student, and the overwhelming majority (26 out of 31) involve charges that a male

 harmed a female.

        Courts have divided on the issue of whether evidence of this kind can support a claim of

 anti-male bias. See, e.g., Doe v. University of Colorado, Boulder, 255 F.Supp. 3d 1064, 1074-75

 (D.Col. 2017) (collecting cases). Plaintiff contends that the Columbia University decision

 (quoted above at pp. 7-8) and its antecedents and progeny provide the better reasoning; namely,

 that while the gender-based dividing line between accusers and accused does not provide

 evidence of gender bias in and of itself, a jury may consider that disparity when evaluating the

 statements University officials or advocates make in favor of the rights of accusers (also referred

 to as “victims” or “survivors”) and against the accused (also referred to as “predators”). See

 Weser v. Glen, 190 F. Supp.2d 384, 395 (E.D.N.Y. 2002) (“[s]tatistics may be used as

 circumstantial evidence to support an individual disparate treatment claim”), aff’d, 91 Fed. Appx.

 521 (2d Cir. 2002).



                                                 23
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                3.     Evidence of pretext

        As noted above (see p. 5, supra) the First Circuit has held in the employment

 discrimination context that a fact finder can infer discriminatory intent without a “smoking gun”

 of direct evidence if the employer’s articulated non-discriminatory explanation for its action

 features “such weaknesses, implausibilities, inconsistencies, incoherencies, or contradictions in

 the employer's proffered legitimate reasons for its action that a reasonable fact finder could

 rationally find them unworthy of credence and hence infer that the employer did not act for the

 asserted non-discriminatory reasons.” Gomez-Gonzalez., 626 F.3d at 662. Plaintiff submits that

 Defendant’s egregiously false explanations of why it rushed Plaintiff’s case into a hearing a mere

 35 days after the complaint was filed meet this standard.

        The summary judgment record contains evidence that Defendant investigated and heard

 John Doe’s case on an unnecessarily expedited basis, harming his ability to prepare his defense.

 The Code of Student Conduct called for hearings to be commenced within 60 days of the receipt

 of a complaint or report of an incident. Exhibit 16 (Code, p. 11). In practice, hearings were often

 held much later than this. Brown compiled a list of pending hearings involving charges of sexual

 assault and/or sexual harassment for the Office for Civil Rights.          Exhibit 17.    Plaintiff

 constructed a chart for the Court converting the information about dates to days after filing of

 complaint. Exhibit 18. As the chart indicates, the sample of 10 cases open at the same time as

 Plaintiff’s (which appears in the Chart as item 8) proceeded for an average of 81 days before the

 hearing, with a median value of 61 or 62 days. In contrast, Plaintiff’s case was heard in 35 days,

 with a hearing on November 21, 2014 for an incident that was reported on October 17.




                                                 24
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        Originally, Brown tried to hold the hearing even faster than that.10 On October 27, 2014,

 Dean Castillo prepared a letter with charges that would result in a hearing on November 7.

 Exhibit 19 (Brown 424-25). At that point, John Doe had not even prepared a statement. Exhibit

 20 (Castillo Deposition, p. 347). When John Doe indicated he wished to prepare a statement,

 Dean Castillo did not issue the letter. Id. On November 7, Dean Castillo issued a second letter,

 this one calling for a hearing on November 14. Exhibit 21 (Brown 534-35). The same day,

 Plaintiff sent Dean Castillo the following email:

        I would like to formally request a reasonable continuance of my hearing date for the
        following reasons:

                Based on the materials I was provided this week, including statements from other
                witnesses, I will need additional time to prepare for the hearing. I anticipate
                providing you with additional materials and I will be unable to complete that by
                the deadline you established of Monday, November 10

                I need additional time to consult with my advisor.

                Unfortunately, my mother is scheduled to have major surgery next week. Given
                the significance of this hearing, I will need my parents to be present in Providence
                on the hearing date for guidance and emotional support. That will not be possible
                next week.

        I am asking for a short continuance at your discretion, although I am suggesting two
        weeks. Please let me know if you have any questions concerning the need for the
        continuance. I understand that the expedited hearing process is enacted for my own
        benefit because I am off-campus, but I want to be in a position to provide the
        board a complete picture and all relevant information about the case at the hearing.11

 As of November 7, 2014, Dean Castillo had not been able to obtain statements from the hospital

 staff at Women and Infants Hospital concerning Jane Doe. Consequently, with the approval of

 Vice President Klawunn, Dean Castillo determined that the hearing should be postponed by one
 10
        See Exhibit 74 (Brown 1217); email from Dean Castillo to Vice President Klawunn and
        copying counsel, dated October 19, 2014 stating “we are expediting.”
 11
        In an unsuccessful response to this issue, Defendant in its Statement of Undisputed Facts,
        CM/ECF 95, paragraph 120, Defendant quotes a portion of this email out of context. See
        footnote 12, infra.
                                                 25
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 week, until November 21. Exhibit 75 (Brown 2325) As a result, the delay was as much for the

 benefit of the University and/or Jane Doe (by allowing more time to attempt to fill an evidentiary

 hole in the case against John Doe).

        When Dean Castillo approved the extension of one week but not two (i.e. until November

 21), Plaintiff again requested, in a November 12, 2014 email, a continuance for a second week so

 that his mother could join him, stating the following:

        Dear Dean Castillo,

        I appreciate your granting a continuance of the hearing date, and your office's flexibility
        in this matter. Unfortunately, due to the severe nature of total shoulder replacement
        surgery, my mother will need some more time after surgery before being able to travel on
        an airplane. Thus, I am requesting a second continuance of the hearing date. We had
        suggested a continuance of 2 weeks only because that was roughly the minimum amount
        of recovery time needed for her to travel, without dragging this process too far into
        December.

        I understand that you are under no obligation to move the hearing date back farther, but it
        is certainly the best option for my family and I to have the hearing later than its current
        date of November 21. The emotional support provided by my mother's presence in
        Providence during hearing is invaluable, and I would be extremely appreciative if the
        hearing were moved to a later date, to ensure that it is possible. Again, feel free to contact
        me with any questions concerning this request.

 Dean Castillo denied this request for the stated reason that the Thanksgiving holiday occurred the

 following week. Exhibit 76 (1504).

        If Brown had granted this request, the hearing would have taken place on November 28,

 42 days after the initial report and well below the University average. Had Brown waited an

 additional week to account for Thanksgiving (i.e. waiting until December 5), the hearing would

 have been 49 days after the date of the complaint. A jury might find it difficult to understand

 why the timing of the semester provided a reason to deny John Doe’s request; after all, the 60-

 day window extended to December 16, and another week past that would have been well within

 the common range of experience.


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        The issue returned in a different form the following week. On Monday, November 17 at

 around 5:00 p.m., John Doe received a voluminous packet of materials for a hearing scheduled to

 take place the morning of Friday, November 21. Exhibit 22 (Brown 1593) He asked for

 additional time to review and understand the documents which included medical records, stating

 the following:

        I received the packet of information for the case in the e-mail you sent me at 5:17 pm
        today. Looking through the contents, there is a host of new materials submitted by the
        other side that I was previously unaware of. These include new witness statements,
        amended witness statements, text messages, hospital medical records, and Brown Health
        Services reports. Also, there are other relevant materials referenced in witness statements
        that are not included in the packet . . .

        Because of the enormity of the amount of new information received, the three day
        window between now and the hearing date is not a reasonable length of time for me to
        prepare a response to the charges. Pursuant to rights D and E in the list of Student Rights
        and Responsibilities in the Code of Conduct, I am formally requesting a continuance of
        the hearing date. Ideally, I would prefer to clear my name as quickly as possible.
        However, by this Friday, I will not have had an opportunity to provide the panel with
        comprehensive responses to the charges. I hope you will understand my position, and
        respond to my request for a hearing date continuance.

 Exhibit 22 (Brown 1593). His faculty advisor, Marylou McMillan, seconded John Doe’s motion,

 sharing her view that “this is a lot of material to get through and have prepared for a Friday

 hearing.” Exhibit 23. (Brown 3537). Once again, Dean Castillo denied this request, this time

 stating “As this is the normal course of the process, we will not be issuing a continuance at this

 time.” Exhibit 24 (Brown 1597). As argued below, Brown University’s last-minute document

 dump was anything but “the normal course of the process.” Plaintiff wanted additional time to

 review 55 pages of new material, including 27 pages of medical records that Brown University

 had held since November 3, and which Jane Doe also submitted to Brown University on

 November 13. Exhibit 20 (Castillo Deposition, p. 375:6-15). Depending on how one reads the

 Code, Plaintiff had a right to receive these records as early as November 7 (with the charge



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 letter), and at the latest by November 14 (7 days before the hearing). Either way, Brown had

 violated “the normal course of the process” by withholding these documents from Plaintiff past

 the deadline, and had denied him due process under its procedures by forcing the hearing to take

 place on what amounted to an expedited schedule that violated John Doe’s contractual due

 process right to “a reasonable length of time to prepare a response to the charges against him.”

        Vice President Klawunn’s explanation for Defendant’s denial of Plaintiff’s requests for

 more time is even harder to understand or accept.           At her deposition, she explained her

 opposition to Plaintiff’s request to extend the hearing date in this way:

        Q.      Do you know whether the request for an extension would have put the
                investigation past 60 days?

        A.      I don't believe it would have.

        Q.      Okay. On average, how long did other investigations take during the 2014-2015
                academic year?

                MR. RICHARD: Let me just -- objection. You can answer.

                THE WITNESS: Yeah. I can't answer on that. I have indicated that the specifics
                of this case included the fact that we had a student on interim suspension and that
                our commitment to that student and his parents, who were extremely concerned
                about his academic progress, was to do the hearing in as timely way as possible so
                that he could resume his studies as a normal student if we got through the hearing
                and he was found not responsible.

 Exhibit 25 (Klawunn Deposition, pp. 264-65).

        This proposed explanation is at complete odds with the facts. John Doe’s disciplinary

 hearing took place on November 21, 2014, a full two months before the January 21, 2015 start of

 the Spring semester. Exhibit 26. For example, a three-week extension would have resulted in a

 December 12, 2014 hearing, more than five weeks before the Spring semester began, allowing

 John Doe ample time to “resume his studies as a normal student if . . . he was found not

 responsible.” Also, a December 12, 2014 hearing would have been 56 days after Jane Doe’s


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 complaint, well within the 60-day threshold established under the Code of Student Conduct or

 the longer interval between complaint and hearing that ordinarily occurred. In short, Vice

 President Klawunn’s explanation that she decided to deny John Doe’s requests for extensions for

 his own academic benefit defies belief, and “a reasonable factfinder could rationally find [it]

 unworthy of credence and hence infer that [Brown] did not act for the asserted non-

 discriminatory reasons.” Gomez-Gonzalez v. Rural Opportunities, Inc., 626 F.3d 654, 662 (1st

 Cir. 2010).

        While the irrefutable facts of the academic calendar provide a sufficient reason for a

 reasonable jury to find Vice President Klawunn’s post hoc explanation unworthy of credence,

 there is even more compelling evidence of pretext, namely what Vice President Klawunn

 actually stated at the time. After Plaintiff sent his November 12 email seeking an additional one-

 week extension (see pp. 25-26, supra), Dean Castillo forwarded his request to Vice President

 Klawunn. They had this email exchange:

        Dean Castillo: FYI. I do not think we should reschedule again for this reason. Thoughts?

        VP Klawunn: I agree this is not sufficient to reschedule again. [John Doe] is trying to get
                     in the whole semester.

 Exhibit 27 (Brown 1491) (emphasis added).

        Based on what she said at the time, Vice President Klawunn did not refuse John Doe’s

 requests for more time out of any concern for his Spring semester academic career if he were

 exonerated. Instead, Vice President Klawunn refused John Doe’s extension requests because she

 did not want him to complete successfully his fall semester courses. Vice President Klawunn did

 not provide a candid answer as to why she took this position at the time, but a reasonable jury

 could infer that she already had predetermined John Doe’s guilt before the hearing took place,

 and she did not want for him to gain the benefit of a full semester of a Brown education under


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 those circumstances, thereby shredding any right John Doe had to a presumption of innocence

 under the Code of Student Conduct that remained after she ordered John Doe removed from

 campus, before ever meeting him and before the investigation began. In any event, no matter

 what exactly Vice President Klawunn meant when she said she opposed John Doe’s “getting in

 the whole semester,” that contemporaneous statement provides even more basis for a reasonable

 jury to view her counter-factual post hoc explanation as pretextual and unworthy of belief.

         To conclude, the revisionist history that Vice President Klawunn and Dean Castillo

 presented to justify their actions, which has continued in skewed fashion in Defendant’s

 Statement of Undisputed Facts12, is not only demonstrably false based on their statements at the

 time, but also is so far off-base that a jury could find it to be a pretext for discrimination.

                 4.      Evidence of bias “in favor of the accusing female and against the
                         defending male [student] in order to avoid further fanning the
                         criticisms that [Defendant] turned a blind eye to such assaults.”

         While the evidence presented so far provides a more than sufficient basis for a jury to

 find that the erroneous outcome in Plaintiff’s case was substantially motivated by gender

 discrimination, the particular actions of these University officials in John Doe’s case occur

 within a larger setting of a campus dealing with a sensitive issue raised by vigorous gender-based

 student protests. This background information bolsters the evidentiary record of discrimination

 in two ways. First, it provides color and context to understand and explain the statements and

 actions of Professor Schultz, who was involved in the Lena Sclove case and the Sexual Assault

 12
         Defendant’s Statement of Undisputed Facts (CM/ECF 95), Paragraph 120, refers to John
         Doe’s November 7 email, stating that it “confirmed his understanding” that “the
         expedited hearing process is enacted for my benefit because I am off-campus.” This
         partial quotation omits the conclusion of the sentence (“but I want to be in a position to
         provide the board a complete picture and all relevant information about the case at the
         hearing”). This use of a selective quotation to support a supposedly “undisputed fact”
         further demonstrates the extent of Defendant’s effort to present a pretextual explanation
         for its decision to expedite John Doe’s hearing.
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 Task Force as well as serving as Chair of Plaintiff’s Student Conduct Board, and also Vice

 President Klawunn, who had connections to these background events.

        Also, the factual record of the student protests and the University’s response provide an

 independent basis for a jury to infer discrimination based on the Second Circuit’s Columbia

 University decision, which held that a jury can infer discrimination from (1) “substantial

 criticism of the University, both in the student body and in the public media, accusing the

 University of not taking seriously complaints of female students alleging sexual assault by male

 students,” (2) a University administration that was “was cognizant of, and sensitive to, these

 criticisms,” and (3) statements and actions by the University’s leadership (especially President

 Paxson) that support the inference that Brown’s officials “were motivated to favor the accusing

 female over the accused male, so as to protect themselves and the University from accusations

 that they had failed to protect female students from sexual assault.” Columbia, supra, 831 F.3d

 at 57-58.

        As will be developed below, the protests regarding sexual misconduct at Brown

 University during 2014-15, and the University’s response to those protests, goes well beyond a

 few incidents that caught people’s attention in four important ways.        First, those protests

 provoked a campus-wide dialogue that played out over a period of twelve months, with the

 President of the University extensively engaged to the point of extending her personal moral and

 financial support to the protesters and their list of demands. Second, both the protesters and the

 University framed much of their dialogue in gender-based terms, rather than speaking more

 generically about the rights of all victims and/or respondents, regardless of gender. Third, the

 President of the University’s actions and communications touched directly on Plaintiff’s

 disciplinary case in “real time” as it developed.     Finally, the University officials handling



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 Plaintiff’s disciplinary case afforded him harsh and unfair treatment in three ways that matched

 three of the specific demands of the protesters (which demands were previously endorsed by the

 University President).

                          a.   Lena Sclove’s press conference and President Paxson’s
                               engagement with the protesters

        On April 22, 2014, a Brown student named Lena Sclove held a press conference to

 publicly discuss what she viewed as Brown’s improper handling of her sexual assault complaint

 (abridged version viewable on YouTube at https://www.youtube.com/watch?v=jNNyZwJrM0I).

 Ms. Sclove claimed that she was a victim of a violent sexual assault by a fellow male student and

 although a Brown University Student Conduct Board panel found him “responsible,” the

 resulting one-year suspension was inadequate, as it would end that fall, while she was still a

 student at Brown. She expressed her fear of his return to campus. Id.

        In a complaint she later filed with the United States Department of Education, Office for

 Civil Rights and made public, Ms. Sclove claimed that while the Student Conduct Board panel

 initially recommended a two-year suspension of the male student, the Senior Associate Dean for

 Student Life reduced the sanction to one-year, which reduction was upheld on appeal to the Vice

 President for Student Life (Ms. Klawunn). Exhibit 13 (OCR Complaint), pp. 4-5, ¶ ¶19-21.

        Student protests are a regular part of the daily life of many universities, and Brown

 University has its own storied history, dating back to the Vietnam War if not earlier. With that

 said, Ms. Sclove’s April 22, 2014 press conference ignited an unusually vigorous protest even

 when measured against Brown University’s rich tradition.        In the days that followed, Ms.

 Sclove’s press conference was reported in the student newspaper (Exhibit 28, Brown Daily

 Herald, April 23, 2014) and in the local and national press. Exhibit 29 (Slate Magazine); Exhibit

 30 (Huffington Post); Exhibit 31 (Buzzfeed); Exhibit 32 (Providence Journal). She and her


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 fellow protesters framed the issue in terms of gender, filing a Title IX complaint with the OCR

 that was prepared by Legal Momentum, also known as the Women’s Legal Defense Fund. See

 Exhibit 13.

        The protests drew the attention of Brown University’s President, Christina Paxson. The

 day after the press conference (April 23, 2014), President Paxson attended a meeting of the

 Brown University Community Council (which she chaired). Exhibit 43 (Carey Deposition, pp.

 19:11-23). At this meeting, students expressed their concerns regarding how issues of sexual

 violence were being handled by the University and a particular concern about the Lena Sclove

 case which had gained local and national media attention. Exhibit 43 (Carey Deposition, pp.

 20:14-20, 21:13-23).

        On April 26, President Paxson sent a campus-wide email acknowledging the press

 conference, assuring the community that the respondent in Ms. Sclove’s case had decided not to

 return to the University that fall, and announcing that the University was accelerating its review

 of student conduct policies.

        The April 26 email did not satisfy the protesters. One group organized under the banner

 of “Imagine Rape Zero.” They based their name on an “Imagine Brown 250” campaign the

 University had organized to celebrate this anniversary at Commencement later that Spring.

 Exhibit 33 (Petition). On April 30, this group issued a Petition, which called upon President

 Paxson, Vice President Klawunn, Provost Mark Schlissel, and Senior Associate Dean J. Allen

 Ward to publicly endorse a list of 16 “Demands.” The group gave the University officials a

 deadline of May 9 to respond.

        President Paxson continued to be personally engaged. On May 2, 2014, she sent a

 campus wide email announcing her decision to create a Sexual Assault Task Force. Exhibit 24



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 (Paxson Deposition, p. 24:4-18). She noted the Task Force was “charged with undertaking a

 comprehensive review of Brown’s current practices, policies and procedures around issues of

 sexual assault and sexual misconduct.” Specifically, President Paxson instructed the Task Force

 to focus on (i) sexual assault prevention; (ii) student support and advocacy; and (iii) policies and

 procedures for sexual misconduct. Exhibit 36 (May 2, 2014 email).

        These two campus-wide emails began a twelve-month campaign by President Paxson to

 use her “bully pulpit” to influence discussion and action regarding the issues raised by Lena

 Sclove and her protester allies.      In her deposition, President Paxson acknowledged the

 significance of these emails, stating “When I send out an email, usually I’m providing

 information or trying to convey information about values that I’m trying to propagate at the

 University,” (Exhibit 34, Paxson Deposition, p. 18:15-18) and “The emails I send out tend to be

 on important matters.” Exhibit 34 (Paxson Deposition, p. 17:24-25).

        A review of those emails demonstrates how President Paxson projected her moral

 authority as President of Brown University to make this issue the University’s highest priority in

 the area of campus life. Recognizing that sexual assault “was a major focus of people on

 campus” (Exhibit 34, Paxson Deposition, pp. 26:10-27:22) and “an area that [she] was paying

 attention to” (Exhibit 34, Paxson Deposition, p. 27:3-4), during the 12 months following Lena

 Sclove’s press conference, President Paxson issued 24 emails or statements regarding campus

 life, of which 14 touched on the subject of sexual assault. The remaining items were on a variety

 of subjects, including five which marked the passing of five different members of the Brown

 University community.

        President Paxson’s extensive engagement with the Lena Sclove protesters and the Brown

 University at large on this issue went far beyond her involvement in any other campus life issue,



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 either before or since. Exhibit 35 is the University’s compilation of Presidential emails on the

 subject of student life from the beginning of President Paxson’s term of office (September, 2012)

 to the present.13 It is worth noting that this critical 12-month period (April 26, 2014 – May 7,

 2015) marked President Paxson’s busiest period for campus emails in general. Her output per

 calendar year is as follows:

        2013:           10 emails/communications

        2014:           18 emails/communications

        2015:           17 emails/communications

        2016:           8 emails/communications

        2017:           3 emails/communications

        President Paxson’s next email came one week later, on May 9, 2014, the deadline that

 Imagine Rape Zero had posted for her to respond to their list of demands, which list included the

 following:

        1.      Require all students found culpable of sexual misconduct be, if not expelled,
                suspended from the University for at least two years, or until the victim in
                question graduates, whichever is longer.

        5.      Expedite the current timeline for Student Code of Conduct hearings.

        13.     Meet and prioritize the needs of the victim with respect to housing and academic
                accommodations beginning as soon as the incident is brought to the attention of
                University personnel, as required by federal law.

        15.     Create programs and allocate resources to the Department of Public Safety and
                Health Education to confront and prevent sexual harassment in all its forms,
                recognizing that it is a foundational component of rape culture.

        16.     Formulate programs and policies which address differential victim experiences
                based on intersecting identifies of race, gender identity and expression,
                socioeconomic status, sexual orientation, religious identity and ability.

 13
        As Exhibit 35 indicates, the compilation was printed from the University’s website on
        December 21, 2017, and its most recent entry is from August 13, 2017.
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         In her deposition, President Paxson acknowledged that some of the students’ demands

 were extreme and/or vague, testifying as follows:

         Q.      With regard to policies, would you agree that Brown's policies did not
                 discriminate on the basis of the categories identified in Item No. 16?
         A.      Our policies should not discriminate ever.
         Q.      So to that extent, you disagree with the statement there?
         A.      The -- the statement here is so vague, formulate programs and policies which
                 address -- I don't -- I'm not sure what the intent was of the students who were
                 writing this.

 Exhibit 34 (Paxson Deposition, pp. 39-40). In a point Plaintiff will return to later (see p. 39,

 infra), she also acknowledged at her deposition that she found the term “rape culture” in Demand

 No. 15 “a little bit inflammatory and I don't -- I don't really like it.”

         Notwithstanding her personal misgivings, President Paxson took a different public tone in

 her May 9, 2014 email (Exhibit 37), in which she endorsed the demands of the group and

 thanked the petitioners “for the carefully researched and comprehensive list of recommendations

 you have developed,” adding “We are taking a number of immediate steps that align with your

 recommendations.” Further, President Paxson outlined her expectations of the Task Force,

 stating “Many of your recommendations concern important issues such as the length of sanction,

 the definition of consent, the structure of the appeals process, sanctions for violating no-contact

 orders, systems for staff and faculty accountability, and the timeline for Code of Conduct

 Hearings. These are precisely the issues I expect the Task Force to consider, with substantial

 input from the Brown community.” Moreover, she announced new initiatives, including the

 creation of two summer jobs to conduct research and support the work of the Sexual Assault




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 Task Force. Id.14 In addition to sending this email to the Brown community, President Paxson

 sent copies specifically to a group of five administrators that included Vice President Klawunn.

 Id. She also asked the Imagine Rape Zero group to post her letter on their Facebook page. Id.

 President Paxson made a personal contribution of $2,500 to Imagine Rape Zero’s fundraising

 efforts, which clearly listed her as a supporter of their cause. Exhibit 34 (Paxson Deposition, p.

 50:8-20); Exhibit 38.

                         b.    The 2014 Commencement

        University commencement exercises are high-profile events, and the protesters made full

 use of this opportunity. Their message was gender-based, as graduating students placed a “IX”

 on their graduation caps to bring attention to sexual assault policy reform. (See

 https://thinkprogress.org/red-tape-wont-cover-up-rape-the-silent-protests-that-are-sweeping-

 college-graduations-d6f6fd5eb9d/). Students involved with the Imagine Rape Zero group handed

 out flyers protesting the University’s handling of Lena Sclove’s case in particular, and its sexual

 assault policies more generally (see https://www.youtube.com/watch?v=8V5KRJM0rVU NYT

 Op-Docs 9-26-14 (New York Times video)), actions that certainly drew the attention and

 concern of Brown administrators. Further, President Paxson addressed the issue of “how to make

 members of our community safe from the threat of sexual assault” in her commencement

 address, and presented the issue of sexual assault to the University Corporation at its meeting.15



 14
        Those positions were filled by two students who were active in the Imagine Rape Zero
        group. See Exhibit 7 (Task Force Interim Report) Appendix C, p. 1 (identifying student
        researchers), Exhibit 39 (Justice Gaines and Yvonne Yu Facebook posts).
 15
        Her      address    is     viewable     at     https://www.youtube.com/watch?v=MQdF-
        5bK5kg&feature=youtu.be&t=565          at    the    17:48   mark.       See   also   .
        https://www.brown.edu/about/administration/president/statements/20140523-corporation-
        news (President’s email to Brown Community reporting on May, 2014 Corporation
        meeting.)


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                       c.      Recruiting and Staffing the Sexual Assault Task Force

        By the fall of 2014, the membership of the Task Force had been fully established. Exhibit

 43 (Carey Deposition, p. 41:9-10) President Paxson appointed Executive Vice President for

 Planning and Policy Russell Carey to serve as Co-Chair of the Sexual Assault Task Force

 (Exhibit 43, Carey Deposition, p. 32:16-19) along with Dr. Michelle Cyr, Associate Dean for

 Academic Affairs in the Alpert Medical School. Exhibit 43 (Carey Deposition, p. 41:15-21).

 Professor Gretchen Schultz, who had served as Chair of the Student Conduct Board that heard

 Ms. Sclove’s case (Exhibit 6, Schultz Deposition, p. 59:21-22) and which recommended a two-

 year sanction that the Associate Dean of Student Life reduced to one year, thus generating the

 protests,16 was also asked to serve as a member of the Task Force, a position she accepted.

 Exhibit 8 (Schultz Deposition, pp. 296:20-297:10). While acting as a member of the Task Force,

 Professor Schultz also served as Chair for the board that heard John Doe’s case, in the fall of

 2014. Exhibit 8 (Schultz Deposition, pp. 305:19-306:2).

        In addition to the appointed faculty members, the Task Force included the appointment of

 four undergraduate students, all of whom were active in either the Imagine Rape Zero group or

 other sexual assault related protesting. Exhibit 39 (Carey Deposition Exhibits 9 and 10).

                       d.      President Paxson’s communications during the Fall, 2014
                               semester

        President Paxson continued her campaign of encouraging Brown to take a tougher stance

 on sexual assault through the fall 2014 semester. By email dated November 17, 2014, President

 Paxson extended her strong support for the activists mobilized by Ms. Sclove’s press conference



 16
        In her deposition, Professor Schultz testified that, in her opinion, the sanction should have
        been the original two years that she recommended (Exhibit 8, May 16, 2017 deposition,
        pp. 316-17), thus taking Lena Sclove’s side in her protest against the University when it
        rejected the Student Conduct Board’s recommendation and imposed a one-year sanction.
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 when she discussed the steps taken to date to “change the culture and norms on our campus” and

 discussed how recent sexual misconduct complaints brought to the attention of the administration

 were being handled aggressively, including the one against John Doe. Exhibit 41.

        President Paxson’s November 17, 2014 email demonstrated her support for the protesters

 in a second way when she stepped into a controversy involving a debate forum in which one of

 the speakers expressed controversial views on the subject of campus sexual harassment.

        For many years, the University’s Political Science department had sponsored a student

 organization called the Political Theory Project, which ran the Janus Forum Lecture Series.

 Exhibit 40. This series featured debates on topics of current interest. On November 18, 2014,

 the Janus Forum scheduled a debate between Wendy McElroy and Jessica Valenti on the subject

 of “How should colleges handle sexual assault?” Exhibit 40. President Paxson recalled that Ms.

 McElroy did not believe a rape culture existed and took “a very firm stance on the idea that rape

 is much rarer…than much of the survey evidence shows” (Exhibit 34, Paxson Deposition,

 p.73:19-25) while Ms. Valenti took an opposing view. Exhibit 40 (explaining speakers’ opposing

 perspectives).

        In this way, the debate was designed to provide students with an opportunity to hear both

 sides of a controversial argument. Id. A group of female students who disagreed with Ms.

 McElroy’s views organized a boycott and protest. Exhibit 34 (Paxson Deposition, p. 75). They

 also arranged for another speaker, Professor Lindsay Orchowski, to speak at the same time as the

 Janus Forum on a different topic, namely “The Research on Rape Culture.” Exhibit 34 (Paxson

 Deposition, p. 75:2-14). As President Paxson acknowledged in her deposition, the term “rape

 culture” is “a little bit inflammatory and I don't -- I don't really like it. . . . I think that it is




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 somewhat inflammatory because it tends to equate all sexual assault with rape and sexual assault

 is a broader term.” Exhibit 34 (Paxson Deposition, pp. 82:20-23; 83:9-11).

        Despite her private qualms, President Paxson chose sides in this counter-programming

 debate, stating the following in her November 17 letter:

        Some people--including writer Wendy McElroy, who will speak with Jessica Valenti at a
        Janus Forum event next week--have argued that sexual assault is the work of small
        numbers of predatory individuals whose behaviors are impervious to the culture and
        values of their communities. I disagree. Although evidence suggests that a relatively
        small number of individuals perpetrate sexual assault, extensive research shows that
        culture and values do matter…In order to provide the community with more research and
        facts about these important issues, students and administrators have worked together to
        sponsor a lecture by Brown University Assistant Professor of Psychiatry and Human
        Behavior Lindsay Orchowski, entitled The Research on Rape Culture. This presentation
        will take place at 4:30 pm on Tuesday, November 18th in Wilson 102 as an alternative to
        the Janus Forum...

 Exhibit 41.

        While President Paxson did not join the students in urging a boycott, she stated her

 disagreements with one speaker (Ms. McElroy) without noting that Ms. McElroy would be

 opposed in a debate by Ms. Valenti, who would offer a counterpoint to the views of Ms.

 McElroy with which President Paxson disagreed. Also, while encouraging students to attend

 Professor Orchowski’s talk on “rape culture,” President Paxson neglected to state her

 disagreement with the use of the term. When asked at a deposition why her campus email stated

 her disagreement with Ms. McElroy’s view but not her disagreement with Professor Orchowski’s

 choice of words, President Paxson stated “At a university, academic freedom means that people

 should be able to go to talks the titles of which they disagree with” Exhibit 34. (Paxson

 Deposition, p. 83:4-6). As President of Brown University, Ms. Paxson’s public statements about

 “community norms and values” carried significant weight.




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        A reasonable jury could find that President Paxson used her campus-wide emails to

 express support for the concerns of Imagine Rape Zero and like-minded activists in ways that

 went beyond her traditional role as President, all part of her broader effort to change the “culture

 and values” regarding sexual assault at Brown University. In this way she helped to “send a

 message” to the Brown community supporting a gender-based protest.

                        e.         The Sexual Assault Task Force Interim Report

        During the Fall 2014 semester, the Sexual Assault Task Force worked to prepare an

 Interim Report that embodied the values and objectives espoused by President Paxson on behalf

 of Brown University. In doing so, the Task Force considered selective information skewed in

 favor of female complainants and issued a report tainted with an evident bias against male

 students accused of misconduct.

        Setting the tone for the findings presented, the Task Force’s cover letter to President

 Paxson recounts the University’s experience with the gender-based “Rape List”-an incident that

 gained national attention in the fall of 1990 when female students wrote on the bathroom walls to

 warn others about male students they believed to be sexual predators. Exhibit 7 (Interim Report,

 p. 1); Exhibit 43 (Carey Deposition, p. 75-76).17 At the time these events occurred, the

 University administration was concerned about the due process rights of accused male students;

 however, that part of the incident’s history was not described in the Interim Report’s

 introductory letter. Exhibit 7.




 17
        Footnote 1 of the December 16, 2014 cover letter refers to a November 16, 1990 New
        York Times article (Exhibit 42) which identifies the issue as gender-based, brought by a
        group of female students who protested in a way that some male students considered
        unfair. See also https://www.nytimes.com/video/opinion/100000003136974/browns-
        rape-list-revisited.html discussing Brown’s handling of Lena Sclove matter and
        connection to Brown’s “Rape List”.
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           Viewing the Lena Sclove incident from the historical context of the Rape List, the Task

 Force noted the norms and culture at the University that it sought to change. For instance, it

 stated: “Social norms contribute to sexual harassment and sexual violence in a number of ways.

 Our larger culture is saturated with misogynistic and often violent representations of sex and

 sexuality” (Exhibit 7, Interim Report, p. 11) and “National studies and survey research at Brown

 has found that athletic team and male fraternal organization members drink alcohol in riskier

 ways than the general population. Risky alcohol use and conformity to masculinity norms are

 associated with sexual aggression…In addition, Greek affiliation and athletic participation or

 males is associated with sexual aggression and rape myth acceptance.” Exhibit 7 (Interim Report,

 p. 18).

           The language and recommendations of the Interim Report demonstrated its objective to

 protect female students and take a tougher stance on sexual assault complaints. Nearly all of the

 research considered and cited to by the Task Force was provided by Dr. Lindsay Orchowski

 (Exhibit 43, Carey Deposition, p. 70:1-9), which allowed her to inject her own views and biases

 into the Task Force’s discussions, including her belief that many sexual assault perpetrators are

 repeat offenders, and though perpetrators comprise a “heterogeneous group,” they are often

 angry,      “hypermasculine”    and    see    acquiring   sexual    partners   “as   a    game.”

 (http://www.browndailyherald.com/2014/11/19/research-indicates-persistent-rape-culture-

 orchowski-says/) While acting as a member of the Task Force, Dr. Orchowski was also directing

 a project that developed “a prevention program for college men and addresses the role of alcohol

 in sexual violence.” Exhibit 7 (Interim Report, p. 6).

           Dr. Orchowski selectively presented the information she deemed relevant to the members

 of the Task Force when she failed to address any controversies in the field of sexual assault



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 research or present a view that differed from her own. Exhibit 43 (Carey Deposition, pp. 73:18-

 74:3). Instead, she cited to such articles as “Fraternities and collegiate rape culture: Why are

 some fraternities more dangerous places for women?”; “Young Men’s Likelihood Ratings to Be

 Sexually Aggressive as a Function of Norms and Perceived Sexual Interest”; “Examining

 masculinity norms, problem drinking, and athletic involvement as predictors of sexual

 aggression in college men;” and “Athletic participation, fraternity membership, and sexual

 aggression among college men.” Exhibit 7 (Interim Report, pp. 26-28)

        Also, while some of the Interim Report’s language appears on its surface to be

 evenhanded in its discussion of the rights of complainants and respondents, a reasonable jury

 could find an emphasis on the concerns of (female) “survivors.” For example, there is the

 following recommendation at p. 21 of the Report:

        A discretionary fund of approximately $50,000 annually should be established to respond
        to the needs of complainants and respondents. This fund should be administered by the
        Vice President of Campus Life and can be used for such critical needs as access to
        medically necessary care which may not be covered by insurance or which students may
        be fearful of placing on insurance claims which may become known to their parents or
        guardians. Many survivors of sexual assault do not, for example, pursue prophylactic
        treatment for HIV and other potential treatments due to concerns about cost and
        insurance. The costs of such treatment are modest (about $2700) relative to the medical
        benefits. This discretionary fund will enable Health Services, without violating doctor-
        patient confidentiality, to ensure students receive the care they need. Commensurate with
        this recommendation is a need to further publicize to students the medical and testing
        choices available if they are sexually assaulted.

 (Emphasis in original.)

        While the caption of the recommendation is for a fund “to respond to the needs of

 complainants and respondents,” the proposed uses are only for the benefit of assault victims. A

 reasonable jury could find this to be an example of how the Task Force, which was triggered by

 a complaint from a female complainant about the University’s treatment of a male respondent,

 was primarily if not exclusively focused on this particular gender configuration.


                                                 43
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        On October 29, 2014, the Imagine Rape Zero group met with the Task Force and

 presented a modified list of the demands previously submitted to President Paxson. Exhibit 7

 (Interim Report, Appendix E). While Russell Carey, Co-Chair of the Task Force, acknowledged

 that one of them (Item 16) was contrary to Brown’s policies of non-discrimination (Exhibit 43,

 Carey Deposition, p. 53:12-16), the demands were nonetheless included as an appendix, and thus

 incorporated into the Interim Report.

        The foregoing, when coupled with the testimony of Professor Schultz (see pp. 16-18,

 supra) provides a basis for a jury to conclude that the Interim Report advanced the mission of

 protecting female students from assault by male students.

                        f.     Impacts of the University’s campaign on Plaintiff’s case

        The factual record to this point has presented gender-based protest and the extensive

 engagement of the University and its President through a gender-based perspective. Now,

 Plaintiff will present evidence that “connects the dots” between and among (1) the protesters and

 their demands, (2) the University’s engagement campaign and (3) the specific circumstances in

 which Defendant treated Plaintiff unfairly.

        Plaintiff submits there are at least three such direct connections which run from Imagine

 Rape Zero’s petition of demands, through the President’s messages and the Sexual Assault Task

 Force, to the unfair administration of Plaintiff’s case, namely: (i) the order of immediate removal

 from campus; (ii) the rush to hold his student conduct board hearing before he could prepare a

 defense; and (iii) the length of the sanction imposed after he was found responsible.18 In all three



 18
        A jury also could find many indirect impacts of Defendant’s response upon Plaintiff’s
        case. For example, President Paxson’s November 17, 2014 email (Exhibit 41)
        encouraging students to attend a talk on “rape culture” and informing the community of
        two campus removals that had taken place was issued four days before John Doe’s
        Student Conduct Board hearing.
                                                 44
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 of these instances, John Doe received harsh treatment beyond the University’s stated policies and

 precedents in ways that were urged by the Imagine Rape Zero petition that President Paxson

 endorsed in the Spring of 2014, portions of which were ultimately adopted by the Sexual Assault

 Task Force, in the issuance of their Interim Report. We consider each in turn.

                               (1)     The Removal Order

        Demand No. 13 of the Imagine Rape Zero petition highlighted the issue of interim

 removals, stating the following:

        13.     Meet and prioritize the needs of the victim with respect to housing and academic
                accommodations beginning as soon as the incident is brought to the attention of
                University personnel, as required by federal law.

 Exhibit 33.

        Brown University, with the encouragement of President Paxson, initially sought to

 achieve complete compliance with this demand in Plaintiff’s case. On October 19, 2014, Dean

 Castillo presented John Doe with a letter, signed by Vice President Klawunn, informing him that

 “effective immediately, Sunday, October 19, 2014, you are removed and barred from the Brown

 University campus on an interim basis.” Exhibit 44 (Brown 355) The letter informed him that

 the removal was for “an indefinite period of time” and that if he set foot on the campus he “will

 be considered trespassing and subject to additional action.” Id. John Doe objected, stating that

 he wanted at least to be able to complete his course work. On reconsideration, Vice President

 Klawunn realized her initial order was too drastic, and decided to allow John Doe to continue

 attending class, provided that he found lodging off campus and limited his appearances on

 campus to attending class, stating:

        I don't specifically -- the piece that I remember more specifically is that given how
        committed he was to his schoolwork and the importance of his schoolwork, that we made
        an adjustment to allow him to stay in town and participate in his classes.



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 Exhibit 25 (Klawunn Deposition, p. 230)

        In this way, Vice President Klawunn took a more moderate approach in handling

 Plaintiff’s case than did President Paxson. Before seeking the original, most severe interim

 remedy imaginable, Vice President Klawunn corresponded with President Paxson, wherein she

 proposed the following course of action:

        Our plan would be to issue a no contact order tonight, for deans to meet with him
        tomorrow morning, we would notify his parents, and fly him home tomorrow. Okay with
        you? Call me if you would like.

 Exhibit 45 (Brown 2186). At that time, Vice President Klawunn had not spoken to either the

 Complainant or John Doe concerning the alleged events, had not reviewed any evidence and had

 not even received a written complaint. Exhibit 25 (Klawunn Deposition, pp. 167:1-12; 231:21-

 232:9). Indeed, Dean Castillo corresponded with Vice President Klawunn at 9:02 p.m. on

 October 17, 2014 about serving the removal letter the following day, prior to receiving Jane

 Doe’s formal complaint at 9:03 p.m. Exhibit 78 (Brown 1018-1019). The removal letter referred

 to injuries allegedly sustained by the Complainant, though medical records had not yet been

 collected or reviewed. (Brown 1208).19 Even more egregious, Vice President Klawunn did not

 have the authority to issue such a removal order (See discussion infra regarding breach of

 contract). Exhibit 25 (Klawunn Deposition, p. 230:17-23) Notwithstanding, later that night, Vice

 President Klawunn informed Dean Castillo that President Paxson approved their removal plan.

 Exhibit 46 (Brown 2215).




 19
        Though the decision to remove John Doe was motivated in part by the Complainant’s
        allegation that she sustained injuries during her encounter with John Doe, Dean Castillo
        admitted that if she had been made aware that the photos of the alleged bruises taken by
        the hospital were missing, “I wouldn’t have moved him off campus.” Exhibit 47 (Brown
        2581).
                                               46
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         In her deposition, President Paxson took a more balanced position on the issue of interim

 removal, stating the following:

         Q.     Do you believe that the most severe form of removal should be applied in all
                cases?
         A.     Absolutely not.
         Q.     And how instead do you believe the University should proceed in making these
                decisions?
         A.     I think that the important thing to remember is that you are balancing the need to
                maintain a safe environment with the desirability of letting people stay in school.
         Q.     And is it fair to say that the second – the second half of the balance is the rights
                and interests of the respondent?
         A.     Yes.
         Q.     Do you know -- and is it your view that the most -- that the University should
                impose the least restrictive type of removal consistent with preserving the safety
                of the campus?
         A.     Yeah. I think that's a fair statement.

 Exhibit 34 (Paxson Deposition, pp. 95-96)

         Once again, however, President Paxson’s official actions and public statements at the

 time do not match these views, as she authorized the most drastic remedy possible when given

 the opportunity. She then made a point of using one of her campus emails (the same one in

 which she expressed her views concerning Wendy McElroy and Professor Orchowski) to bring

 up John Doe’s removal as an indication of how Brown was getting tough on sexual assault,

 stating “More generally, we have seen an increase in reporting of sexual assault reporting this

 academic year. In several [2] cases, the evidence was strong enough to warrant immediate

 removal of the alleged perpetrators from campus.” Exhibit 41.

         At her deposition, President Paxson explained her decision to inform the campus

 community of Plaintiff’s removal, stating the following:




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        Q.     Now, in this letter you make a point of informing the community that there were
               two immediate removals that semester?
        A.     Yes.
        Q.     Do you recall telling them that?
         A.    Uh-huh.
        Q.     Why did you want the community to know that?
        A.     I think it was important to let the community know that, when it was indicated,
               we were taking appropriate action to protect them.
        Q.     Was it your intention to inform the community that the decisive action was being
               taken in the area of sexual assault? Is that why you included that message, that
               part of your message?
        A.      I think it was important to show them that we were taking concerns of sexual
               assault seriously and fairly.

 Exhibit 34 (Paxson Deposition, p. 99:7-24)

        Plaintiff does not claim to know President Paxson’s intent throughout her messaging

 campaign and her actions in his case; however, a reasonable jury could find that the members of

 the Brown community were receiving a clear directive from their President that it was time to

 change Brown’s “culture and values” and get tough on male students accused of sexual assault.

                              (2)     The rush to hold John Doe’s hearing before he could
                                      prepare his defense

        Demand Number 5 of the Imagine Rape Zero activists was to “[e]xpedite the current

 timeline for Student Code of Conduct hearings.” In John Doe’s case, the University took this

 demand to heart, pushing his hearing ahead far faster than its policies required, far faster than

 cases normally took, and against his repeated requests for additional time to deal with

 complicated material that was submitted at the last moment, delays that themselves violated the

 Code of Student Conduct.

        In an earlier section (pp. 24-30, supra) Plaintiff described how Defendant reduced the

 interval between the filing of Jane Doe’s complaint from the 60 days prescribed by the Code of
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 Conduct and/or the historical median time of 61-62 days and average time of 81 days to a

 miniscule 35 days, notwithstanding Defendant’s “document dump” of the hospital records at

 5:17 p.m. on the Monday evening before the Friday morning hearing date.             Plaintiff also

 described Vice President Klawunn’s stated, vengeful reason at the time, that she opposed

 Plaintiff “getting in the whole semester” and the other counterfactual reasons she and Dean

 Castillo constructed after the fact. Plaintiff submits a jury could find that the true reason Vice

 President Klawunn was motivated to throw Plaintiff’s concerns under the bus was Demand No. 5

 of the Imagine Rape Zero petition, a copy of which had been sent to her in April of that year, and

 which remained part of the public debate in the months that followed.

                               (3)     The length of the sanction departed from precedent and
                                       was not supported by the evidence

         Finally, Brown University departed from precedent in order to accommodate Demand

 Number 1 from the Imagine Rape Zero petition, which read as follows:

         1.      Require all students found culpable of sexual misconduct be, if not expelled,
                 suspended from the University for at least two years, or until the victim in
                 question graduates, whichever is longer.

         This, of course, was at the heart of Lena Sclove’s protest in the Spring of 2014. The Task

 Force recognized this concern in its Interim Report, noting: “[t]here is a widely shared

 perception that penalties are too lenient” (Exhibit 7, Interim Report, p. 4), a consideration that

 was taken into account in imposing a sanction on John Doe. In her role as Chair of the Student

 Conduct Board, Professor Schultz, who criticized the sanction imposed in Ms. Sclove’s case as

 being too lenient (Exhibit 8, Schultz Deposition, p. 317:2-4), proposed a 2.5-year sanction,

 which was adopted by Vice President Klawunn.           Exhibits 48 (SCB decision), 49 (Brown

 decision letter).




                                                 49
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        The sanction that Professor Schultz recommended for Plaintiff’s case, and that Vice

 President Klawunn imposed, departed from the pattern of prior decisions. In pretrial discovery,

 Brown University produced a chart (Exhibit 15, answer to Interrogatory No. 10) that listed the

 disposition of Student Conduct Board cases during 2011-15 that included a charge of sexual

 misconduct (Sections III, IIIa and/or IIIb). In this data set there are 18 cases involving violations

 of Code Sections III, IIIa or IIIb that were decided prior to the Fall semester of 2014, the first

 one following the Lena Sclove protests that Spring. Reviewing the sanctions for those 18 cases,

 15 of them were for suspensions of 1 year or shorter (or less drastic forms of punishment). One

 was for 2 years (still less than Plaintiff’s) and two were for expulsions (admittedly harsher than

 Plaintiff’s sanction). Of particular note is Case No. 10, based on a Fall, 2013 Student Conduct

 Board hearing in which the respondent was found responsible on four Code charges including

 IIIa and IIIb, and subjected to suspension until the fall of 2014. This case was Lena Sclove’s

 case, as it was the only one decided that semester with that sanction, which in her complaint to

 OCR, Ms. Sclove described as too lenient. See Exhibit 13 (Lena Sclove OCR complaint).20 Ms.

 Sclove appealed the sanction but Vice President Klawunn denied the appeal, explaining her

 decision in a letter to Ms. Sclove as follows:

        The Senior Associate Dean sets the sanction by reviewing cases with similar findings and
        benchmarking the sanction against other cases while also factoring in the specific
        circumstances that might suggest a different determination even if the violations are the
        same. In some instances the respondent might have previous violations that would need
        to be considered in setting the sanction. In this particular case, the precedent of similar
        cases needed consideration. Dean Ward set the sanction at a one-year suspension after



 20
        In her OCR Complaint, Ms. Sclove claims that the Student Conduct Board that heard her
        case recommended a 2-year suspension, which Dean Ward reduced to one year and
        which Vice President upheld on appeal. Exhibit 13, pp. 4-5, Exhibit 50. Professor
        Schultz was the Chair of the Student Conduct Board that made the sanction
        recommendation that Dean Ward and Vice President Klawunn considered to be too
        harsh. Exhibit 15 (under seal), Item #10.
                                                  50
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        his review of the sanction imposed in other sexual misconduct cases that included
        suspension from the University.

 Exhibit 50. These letters are normally kept confidential, but Ms. Sclove gave this letter to the

 Brown Daily Herald to publish as part of its coverage of her protest.                          See

 http://www.browndailyherald.com/2014/04/23/u-mishandled-sexual-assault-case-victim-says/ .

        For Professor Schultz, the recommendation of a 2.5-year sanction was easy to make,

 given that she had thought the sanction in Lena Sclove’s case was too lenient. A reasonable jury

 could find that Professor Schultz could have decided to ignore precedent because she felt

 vindicated in her views by the Lena Sclove protests and the University’s response thereto. As

 “acting” Senior Associate Dean, Vice President Klawunn assigned to herself the responsibility of

 reviewing the Student Conduct Board’s recommendation and then deciding the proper sanction

 for Plaintiff’s case.21 Vice President Klawunn was well aware of precedent; after all, her appeal

 decision concerning Lena Sclove’s case (upholding the one-year suspension) was at the heart of

 the protests in the Spring of 2014. The protesters also were well aware of her role at the time; in

 fact, the Brown Daily Herald published a copy of Vice President Klawunn’s appeal decision as

 part of its April 23, 2014 article covering the protests.22 For this reason, the Imagine Rape Zero

 activists sent Vice President Klawunn her own personal copy of their petition. See p. 33, supra.

        In the Fall of 2014, when Vice President Klawunn reviewed the precedents for John

 Doe’s sanction, she had essentially the same database she reviewed the previous spring when

 deciding the appeal in Lena Sclove’s case, adding only the 1-year suspension from Lena


 21
        Plaintiff’s Cross-Motion for Partial Summary Judgment makes the argument that Vice
        President Klawunn did not have the authority to assume the responsibilities of Senior
        Associate Dean.
 22
        The full article (including the image of Vice President Klawunn’s decision) is viewable at
        http://www.browndailyherald.com/2014/04/23/u-mishandled-sexual-assault-case-victim-
        says/ .
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 Sclove’s case itself and two other cases from that semester, one of which had a deferred

 suspension and the other of which had a 1.5 year suspension (Exhibit 15, Cases 8, 9). In short,

 there was not a reasonable basis in precedent for the 2.5-year suspension Brown imposed on

 John Doe. A reasonable jury could find that Vice President Klawunn departed from precedent

 when imposing this lengthy suspension on John Doe, and her decision was influenced by the

 pressure she felt from campus outcry from her correct application of precedent in Lena Sclove’s

 case the previous spring.

         In this way, both Professor Schultz and Vice President Klawunn had direct ties to the

 Lena Sclove case and to Plaintiff’s. The protesters made Vice President Klawunn a direct target,

 and a reasonable jury could find that the resulting pressure influenced her actions in Plaintiff’s

 case.

         D.     The Court Should Deny Defendant’s Motion for Summary Judgment on the
                Seventh Cause of Action (Declaratory Judgment)

         In any event, Plaintiff’s Seventh Cause of Action (Declaratory Judgment) applies to other

 causes of action (e.g. breach of contract); therefore, the Court should deny Defendant’s Motion

 for Partial Summary Judgment with regard to this claim for relief.

 III.    Conclusion

         When John Doe enrolled at Brown University in the Fall of 2013, he and his classmates

 sailed into the calm before a perfect storm. The storm began in the Spring semester with Lena

 Sclove’s press conference, which precipitated student protests, local and national media

 attention, and an activation of the feminist community both on campus and across the country.

 In her efforts to respond to, and ultimately embrace the protest, President Paxson involved

 herself in this student life matter to a far greater extent than any other such matter during her

 entire Brown University career, both before and after. She invested the moral authority of her


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 position in a concerted campaign to change the culture, norms and values of the University

 community in the area of sexual assault. She endorsed and supported the demands of student

 activists, lending her good name to their cause. In her official capacity, she approved a request

 to send Plaintiff home in an airplane even before he could answer the charges against him, a

 violation of Plaintiff’s rights that even her Vice President ultimately rejected.

        Later that term, President Paxson informed the University community of two immediate

 removals of students from the campus as proof of Brown’s commitment to be tough on sexual

 assault. Through these actions, President Paxson sent a clear message to the University

 administration and the community at large that Brown University was getting tough on sexual

 assault, creating the conditions where the University officials repeatedly violated their own

 policies in handling Plaintiff’s case, doing so in ways that were demanded by activist petitioners.

 Professor Schultz, who decided Plaintiff’s case, served on the Sexual Assault Task Force

 President Paxson commissioned, where she was exposed to the activists’ demands, while

 reinforcing her own focused views on male “privilege” and the “spirit of sexual conquest.” In

 this way, President Paxson’s initiative helped provide Professor Schultz with a frame in which to

 place Plaintiff’s case before she reviewed any of the evidence.

        Plaintiff respectfully submits that he has a right for a jury to decide whether these

 extraordinary events amount to gender bias under Title IX.




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     CROSS MOTION FOR PARTIAL SUMMARY JUDGMENT ON BREACH OF
     CONTRACT (LIABILITY) AND DECLARATORY JUDGMENT (HOLDING
  DEFENDANT’S FINDINGS OF MISCONDUCT TO BE ILLEGAL, NULL AND VOID)

 I.     Summary of Argument
        Plaintiff cross-moves for partial summary judgment for a finding of liability on the

 Complaint’s Third Cause of Action (breach of contract) and part (ii) of its Seventh Cause of

 Action (declaratory judgment that Defendant’s findings of misconduct are illegal, null and void).

 Plaintiff will argue that the Court should grant this relief at this time because the record of

 undisputed facts demonstrates that Brown violated the following provisions of the 2014-2015

 Code of Student Conduct: (i) “[s]tudents and student organizations charged with offenses” have

 the “right[]…[t]o be assumed not responsible of any alleged violations unless she/he is so found

 through the appropriate student conduct hearing.” Exhibit 16 (Code, p. 7); (ii) the authority to

 order student separation from the University is limited “to five (5) officials-President, Dean of

 College, Dean of Graduate School, Dean of Medicine and Biological Sciences, and Senior

 Associate Dean for Student Life.” Exhibit 16 (Code, p. 9); (iii) the Case Administrator must

 “respond to requests from respondents and complaining witnesses during the prehearing phases

 of the student conduct procedures.” Exhibit 16 (Code, pp. 10, 16); (iv) both parties will be

 afforded “an opportunity to offer a relevant response.” Exhibit 16 (Code, p. 7); (v) both parties

 will be provided a “reasonable length of time to prepare a response to any charges.” Exhibit 16

 (Code, p. 7); (vi) both parties will be provided “every opportunity to articulate relevant concerns

 and issues, express salient opinions, and offer evidence before the hearing body or officer…”

 Exhibit 16 (Code, p. 7); and (vii) both parties have the right to “challenge participation of a

 hearing panel member 2 days before the hearing.” Exhibit 16 (Code, pp. 7, 9). As each of the

 foregoing contractual breaches directly contributed to the erroneous finding of responsibility



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 against Plaintiff, he has suffered damages as a result of Brown’s violations. As part of this

 Motion for Partial Summary Judgment, Plaintiff seeks a declaratory judgment to clear his

 academic record. Should the Court determine liability on summary judgment, Plaintiff will seek

 a trial to determine additional appropriate relief.

 II.    Legal Standard

        A.      Summary Judgment

        See Memorandum in Support of Objection to Motion for Partial Summary Judgment, pp.

 2-3, supra.

        B.      Rhode Island Contract Law

        In Doe v. Brown Univ., 210 F. Supp. 3d 310 (D.R.I. 2016) (referred to below as the “John

 Doe 2 case”) this Court held that the Brown Code of Student Conduct defined a contractual

 relationship between students and the University, based on the parties’ “reasonable

 expectations,” and provided that any “[a]mbiguities in a contract must be construed against the

 drafter of the document.” John Doe 2, 210 F. Supp. 3d at 330. In a contract case brought by a

 student against a university, the court may look to a combination of university documents to

 define the terms of the contract. See, e.g., Lyons v. Salve Regina College, 565 F.2d 200, 201 (1st

 Cir. 1977) (reviewing contract consisting of College Manual and Academic Information

 Booklet).

 III.   Argument

        As detailed below, the factual record demonstrates there is no dispute that Brown violated

 several provisions of its Code of Student Conduct in carrying out its disciplinary process with

 respect to John Doe. As a direct result of Brown’s violations, John Doe suffered material




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 damages, including being subjected to a disproportionate sanction as a result of the erroneous

 finding of responsibility.

        A.      The Code of Student Conduct, and ancillary documents, provide a basis for
                contractual rights for Plaintiff

        As the Court held in its MTD Decision, 166 F.Supp. 3d at 191-92, the 2014-15 Code of

 Student Conduct, and the reasonable expectations that result from that document, can provide a

 basis for John Doe to assert contractual rights. In the case at bar, Defendant also provided two

 other contract documents, namely the Guide to the Investigative Process and the Timeline for the

 Student Conduct Board hearing. In the MTD Decision, the Court reviewed the contractual

 violations alleged in the Complaint, identifying seven for which there was a sufficient legal basis

 to move forward assuming the factual validity of the allegations. As argued below, the record of

 undisputed facts supports the granting of summary judgment in favor of these claims.

        B.      Defendant violated John Doe’s contractual right to be assumed not
                responsible of any alleged violations prior to the conduct of a hearing

        The record of undisputed facts supports a finding that Defendant violated Plaintiff’s due

 process right to be presumed not responsible for violations at two stages, first at the removal

 stage and then prior to the hearing. We consider each in turn.

                1.      The Removal Order

        The Code limits a student’s separation from campus to “matters in which individuals

 pose a danger to themselves or the immediate well-being of the University community.” Vice

 President Klawunn testified that Dean Castillo did not specify that John Doe was either a threat

 to himself, or to the campus community, when she presented Vice President Klawunn with a

 draft removal letter for her signature. Exhibit 25 (Klawunn Deposition, pp. 188:16-189:8).

 Because Vice President Klawunn did not perform any independent investigation, speak to



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 witnesses, or review the evidence prior to signing off on the removal notice, (Exhibit 25,

 Klawunn Deposition, p. 181:5-10), there was no basis for concluding that John Doe was either a

 threat to himself or to the Brown community.23

        Based on the foregoing, in reviewing the plain meaning of the applicable Code provision,

 there is no dispute that Brown violated John Doe’s reasonable expectation that any separation

 from the University could only be issued by certain administrators, and only in limited

 circumstances.

        Brown evidenced a presumption of guilt against John Doe when it decided to issue the

 removal order shortly after being notified that Jane Doe intended to file a complaint. By email

 dated Friday, October 17, 2014 at 6:45 p.m., Dean Castillo advised Vice President Klawunn that

 Jane Doe was aware that John Doe may be removed from the University based on the report she

 filed with Brown’s DPS. Exhibit 62 (Brown 1142). At the time of this email exchange, neither

 Dean Castillo nor Vice President Klawunn had received a copy of the DPS report, or a formal

 complaint from Jane Doe filed with Brown’s Office for Student Life. Exhibit 63 (Brown 1144,

 1149, 1178, 1179). Vice President Klawunn testified that she also had not spoken to either the

 Complainant or John Doe concerning the alleged events and had not reviewed any evidence.

 Exhibit 25 (Klawunn Deposition, pp. 167:1-12; 231:21-232:9). Nevertheless, demonstrating a

 presumption of guilt against John Doe, Brown administrators took the most drastic action

 possible when they removed and barred John Doe from the University campus prior to

 conducting any investigation, and well before the Student Conduct Board hearing took place.



 23
        Brown’s Department of Public Safety performed a background check on John Doe (but
        did not perform one on Jane Doe); though this report came back clean, this sole piece of
        objective evidence was not taken into consideration when issuing the removal order. (See
        Exhibit 79 (Brown 1141); Exhibit 80 (Peck Deposition, p. 118:13-15); Exhibit 20
        (Castillo Deposition, pp. 128-129).
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        Similarly, prior to delivering the official removal letter or questioning John Doe about his

 version of the events, Dean Castillo ordered him to remain in his residence hall, on the evening

 of October 18, 2014. Exhibit 64 (Brown 1192). Dean Castillo acknowledged in her deposition

 that the Code did not grant her the authority to take such action. Exhibit 20 (Castillo Deposition,

 pp. 172:21-173:5). Despite the fact that John Doe’s background check did not raise any red flags,

 and that no investigation had been performed to date, Dean Castillo accepted Jane Doe’s

 allegations as fact when she required John Doe to remain in his room, demonstrating a

 presumption that John Doe would be found guilty of the charges.

                2.      The Decision to Hold a Hearing

        In the same vein, Vice President Klawunn and Dean Castillo evidenced a presumption

 that John Doe was responsible for the alleged violations, and would be so found by the Student

 Conduct Board, when they denied his request for a continuance of the hearing date. On

 November 12, 2014 John Doe requested a continuance of the hearing scheduled for November

 21 as his mother was recuperating from a total shoulder replacement and would not be able to

 attend. Exhibit 27 (Brown 1491). John Doe made it clear that “(t)he emotional support provided

 by my mother’s presence in Providence during the hearing is invaluable, and I would be

 extremely appreciative if the hearing were moved to a later date, to ensure that it is possible.”

 Vice President Klawunn’s response to this request, sent 7 minutes after having received it from

 Dean Castillo stated: “I agree this is not sufficient to reschedule again. [John Doe] is trying to get

 in the whole semester.” Of course, the only reason why John Doe would not “get in the whole

 semester” was if he were to be found responsible at the hearing. It is irrefutably clear that Vice

 President Klawunn assumed John Doe was responsible and would be separated from Brown




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 before the end of the semester. An adjournment, in Vice President Klawunn’s eyes, would only

 delay the hearing, and therefore, his inevitable separation from the University.

        Furthermore, during James Doe’s meeting with Dean Suarez on October 20, Dean Suarez

 advised him that although Brown’s policies dictate that an investigation will be performed to

 determine whether a hearing is necessary, “this one’s going to a hearing.” Exhibit 12 (James Doe

 Deposition, p. 29:12-16). Confirming Dean Suarez’s sentiment, four days later, Dean Castillo’s

 office began contacting potential Student Conduct Board panel members to ascertain their

 availability for a hearing on November 7, which was characterized as “time sensitive.” Exhibit

 65 (Brown 1262). The decision to hold a hearing prior to speaking with John Doe, or any of his

 witnesses, was confirmed by Dean Castillo at her deposition:

        Q:      So as of October 27th, the date of this letter, you did not have [John Doe’s]
                statement?

        A:      Correct.

        Q:      And we established before that you didn’t taken an oral statement from [John
                Doe], correct?

        A:      Correct. I had – correct.

        Q:      And you hadn’t interviewed any of [John Doe’s] witnesses, correct?

        A:      Correct.

        Q:      But yet as of October 27th, you had already determined that a hearing was
                warranted, correct?

        A:      Based on the information that we had, yes. That’s correct.

 Exhibit 20 (Castillo Deposition, p. 351:2-15).

        Based on the foregoing, it is clear that the substance of the complaint was not nearly as

 important as the mere fact that a complaint was lodged against John Doe. Here, Brown equated




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 the filing of the complaint to John Doe’s guilt. This turns the presumption of non-responsibility

 on its head and is directly violative of the Code’s provision.

        C.      Plaintiff’s removal from campus was invalid because Vice President
                Klawunn lacked the authority to order it

        Brown breached its contract with John Doe when Vice President Klawunn ordered his

 immediate removal from campus on October 19, 2014. Exhibit 44 (Removal Letter). The 2014-

 2015 Code of Student Conduct explicitly and unequivocally limits the authority to order a

 student’s separation from the University to five specific individuals:

        For matters in which individuals pose a danger to themselves or the immediate well-
        being of the University community, the President, the Dean of the College, the Dean of
        the Graduate School, the Dean of Medicine and Biological Sciences, and the Senior
        Associate Dean for Student Life have the authority to separate a student(s) from the
        University and to impose any additional conditions deemed necessary.”

 Exhibit 16 (Code, p. 9).

        In her deposition, Vice President Klawunn confirmed that she made the decision to order

 John Doe’s removal from campus, testifying as follows:

        Q:      Was it Ms. Castillo’s decision to remove [John Doe] from campus or was it
                yours?

        A:      It was mine.

 Exhibit 25 (Klawunn Deposition, p. 181:2-4).

        Yet, at the time Vice President Klawunn issued the removal order, she did not hold any

 one of the five positions identified in the Code. As acknowledged by this Court in its decision on

 Brown’s Motion to Dismiss, “nowhere in the record before the Court has Klawunn been

 identified as the “Senior Associate Dean for Student Life,” or any of the other positions that the

 Code classifies as having the authority to separate a student from campus due to safety

 concerns.” (Decision on MTD, ECF 37, p. 37). Factual discovery did not reveal otherwise.



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         Vice President Klawunn testified that her title during the fall of 2014 was Vice President

 for Campus Life. Exhibit 25 (Klawunn Deposition, p. 19:1-3). She stated she had authority to

 issue the removal of John Doe by virtue of the fact that she was carrying out the responsibilities

 of Senior Associate Dean J. Allen Ward who was “in the process of leaving” his position.

 Exhibit 25 (Klawunn Deposition, p. 190:11-16). She did not state that Dean Ward had actually

 vacated his position during the Fall, 2014 semester. To this point, the Brown Daily Herald

 reported that the position of Senior Associate Dean of Student Life was not vacated until

 January, 2015, when Dean Ward took a position at Clayton State University. See Plaintiff’s

 Statement of Disputed Facts (“PSDF”) Exhibit 16 (“The position of dean of students, formerly

 titled the senior associate dean of student life, was vacated when J. Allen Ward assumed the role

 of assistant vice president for student affairs at Clayton State University in January”). Brown did

 not provide any evidence documenting Vice President Klawunn’s assumption of Dean Ward’s

 role or responsibilities in the fall of 2014.

         Further, Vice President Klawunn did not have the authority under the Code of Student

 Conduct to assign to herself the responsibilities of the Senior Associate Dean for Student Life.

 The Code of Student Conduct contains at p. 8, n.2 a single provision for alternative University

 officials who can serve in the role of Senior Associate Dean for Student Life for disciplinary

 matters in the absence or unavailability of that particular official. It states the following:

         Throughout these procedures, all references to ‘Senior Associate Dean for Student Life’
         will be understood to include the Senior Associate Dean’s designee(s).”

         Vice President Klawunn did not testify that Dean Ward had designated her for this

 responsibility. It also is important to note that, because the Code of Student Conduct identifies

 the five specific officials who have the authority to separate students from campus, the authors of

 the Code undoubtedly knew how to specify the University officials who could perform certain

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 tasks in the absence or unavailability of the Senior Associate Dean for Student Life. Because

 Defendant “chose to write its policy to state that” five specific officials had the authority to

 remove without providing for substitutions, now Defendant “must live with” the Code that it

 wrote. See MTD Decision, 166 F.Supp. 3d at 194 (discussion of Code’s duty for Defendant “to

 respond to” student requests).

        D.      Defendant failed to respond to Plaintiff’s requests during the prehearing
                phases of the student conduct procedures

        Brown violated its Code of Conduct when it failed to respond to John Doe’s requests for

 information during the investigation process. Brown’s Code provides as follows:

        [T]he case administrator will respond to requests from respondents and complaining
        witnesses during the prehearing phases of the student conduct procedures.

 Exhibit 16 (Code, p. 10).

        As observed by this Court, this obligation is not discretionary; instead “Brown chose to

 write its policy to state that the case administrator ‘will respond’ to the respondent’s requests;

 now it must live with that promise.” MTD Decision, 166 F.Supp. 3d at 194.

        Dean Castillo violated this provision when she failed to respond to critical inquiries

 posed by John Doe prior to the Student Conduct Board Hearing. Specifically, John Doe

 requested that Brown describe the specific information and evidence relied upon in reaching the

 decision to issue his immediate removal from campus. Dean Castillo failed to adequately

 respond to this request when she repeatedly stated that there was “evidence of bruising” and the

 allegations were “serious,” yet failed to provide any documentation to verify such claims.

 Exhibit 66 (John Doe Deposition, pp. 133-134).

        A second incident occurred a week later. On or around October 25, 2014, John Doe and

 his father James Doe met with Dean Suarez concerning the investigation. Exhibit 51 (JD 295).



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 Following that meeting, Dean Suarez forwarded to Dean Castillo the following information

 request from John and James Doe:

        1.      Define the term investigation.
        2.      Provide in depth, step by step procedures your office followed from the time the
                allegation was submitted to the time [John Doe] was contacted.

 Id.

        Dean Castillo emailed John Doe the following response:

        Our process, including information regarding steps we take when an allegation is
        received and our investigation process, can be found in the Code of Conduct provided to
        you with your investigation letter. Please refer in particular to pages 9 through 12.

 Id.

        The summary judgment record contains a copy of the Code of Student Conduct. See

 Exhibit 16. The term “investigation” is not defined in the pages Dean Castillo cited. Instead, the

 word appears twice, first at p. 10 and then at p. 12. (The Code does not define the term elsewhere

 in its pages.) Furthermore, the Code is entirely silent on the second question John and James

 Doe presented, which seeks specific factual information about how his case was handled.

        Dean Castillo similarly kept John Doe in the dark when she failed to respond to his

 requests for information relevant to the upcoming Student Conduct Board Hearing. By email

 dated November 11, 2014, John Doe wrote as follows to Dean Castillo:

        If a witness is submitting a character statement but will not be present at the hearing, do I
        put down their name on the pre-hearing declaration sheet? Or is there a separate link for
        that.

 Exhibit 82 (Brown 1481). Dean Castillo never responded to this inquiry. See Exhibit 2 (John Doe

 Affidavit). Similarly, John Doe wrote as follows to Dean Castillo on November 15, 2014:

        Pursuant to the University’s Student Conduct Procedures I am formally requesting to be
        provided copies of any and all materials gathered by any agent of Brown University
        during the course of the investigation into the complaint made against me…I am,
        however, respectfully requesting the following materials be included if they are available:


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        1. Copies of any of the text messages sent by [Jane Doe] which are referenced in the
           witness statements of [K.R.], [L.S.], [D.G.] and [C.L.];

        2. Copies of any additional witness statements received since you provided me an initial
           package on November 5, including any statements taken from the witnesses I
           provided.
 Exhibit 57 (Brown 1526). Once again, Dean Castillo never responded to this request, which

 sought information critical to the allegations against John Doe. Exhibit 2 (John Doe Affidavit). 24

        Not only did Dean Castillo violate the clear language of Brown’s Code by failing to

 respond to John Doe’s inquiries, but such actions also hindered John Doe from fully participating

 in the disciplinary process and preparing a meaningful defense. While Brown consistently and

 comprehensively responded to every one of Jane Doe’s requests, Brown cannot dispute that it

 failed to respond to the foregoing requests made by John Doe during the prehearing phases of the

 conduct process, in violation of its Code.

        E.      Brown violated its Code of Conduct when it deprived John Doe of the
                opportunity to offer a relevant response.

        The Code of Student Conduct provides that a student charged with an offense will “be

 informed of the evidence upon which a charge is based and accorded an opportunity to offer a

 relevant response.” Exhibit 16 (Code, p. 10). There is no dispute that Brown violated this

 provision when it deprived John Doe of the opportunity to make a midpoint statement during the

 Student Conduct Board Hearing. Further, the Code’s lack of a clear definition of “consent”

 related to allegations of sexual misconduct prevented John Doe from offering a relevant response

 to the charges against him.




 24
        In the meantime, Dean Castillo was frequently solicitous of Jane Doe’s needs and
        provided her with active assistance in preparing her case against John Doe. See pp. 21-
        22, supra.

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        Prior to the hearing on November 21, John Doe was provided an “Opening and

 Questioning Timeline” for the Student Conduct Board hearing that promised John Doe an

 opportunity to address the charges against him at, at least, three distinct times: (i) an opening

 statement at the beginning of the hearing; (ii) a midpoint statement to ask questions or make

 comments concerning the 13 witness statements made up to that point; and (iii) a closing

 statement at the end of the hearing. Exhibit 67 (Brown 694-698). Nonetheless, Brown deprived

 him of his right to “offer a relevant response” when Professor Schultz prevented him from

 making this midpoint statement.

        At the appropriate time, as per the “Opening and Questioning Timeline,” Professor

 Schultz stated” “Okay, so we’re going to pass on now to [John Doe’s] statement and his

 witnesses. [John Doe], do you have anything you’d like to add right now to your witness

 statement?” Exhibit 54 (SCB Tr. 161/Brown 2008) When John Doe began to comment on some

 of the evidence and allegations addressed thus far, he was interrupted by Jane Doe’s advisor,

 who questioned whether John Doe was permitted to do so at that time. Exhibit 54 (SCB Tr.

 163/Brown 2010). As testified to by his attorney Matt Dawson, “When [John Doe] was making

 his statement, which is on the calendar – on the schedule, I noticed that the alleged victim’s

 advisor started getting very upset and waving at the chair, and I don’t think the chair understood

 what her problem was, and then there was a major stoppage, and then I believe it was Dean

 Castillo who said he’s not allowed to talk at this time, and that opening statement, which was

 allotted, was stopped.” Exhibit 55 (Dawson Deposition, p. 28:2-10).

        The hearing minutes reveal that this “stoppage” was indeed prompted by an outburst

 from Jane Doe’s advisor. Exhibit 54 (SCB Tr. 163/Brown 2010). Characterizing John Doe’s




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 comments thus far as a “rebuttal,” Professor Schultz agreed that John Doe was not permitted to

 make such a statement and stopped him from speaking further. (SCB Tr. 163, Brown 2010).25

        Moreover, Brown deprived John Doe of the opportunity to offer a relevant response

 based on the Code’s lack of a definition of “consent.” This Court acknowledged in the John Doe

 2 trial that “the 2014-15 Code did not give a specific definition of consent…When adjudicating

 student disciplinary cases involving sexual misconduct charges under the 2014-15 Code, the

 Student Conduct Boards would look to available sources to define “consent” for purposes of

 their deliberations, including the dictionary and Brown’s sexual education website.” John Doe v.

 Brown University, 210 F.Supp. 3d 310, 316 (D.R.I. 2016). Without being informed of a clear

 definition of consent, John Doe was unable to offer a relevant response to the claim that he failed

 to obtain consent.

        Based on the foregoing, Brown irrefutably violated its Code when it prevented John Doe

 from offering a relevant response to the allegations against him.

        F.      Defendant breached Plaintiff’s contractual right to a reasonable length of
                time to prepare a response to the charges against him

        Brown further violated its Code when it declined to provide John Doe with a reasonable

 amount of time to prepare a response to the charges against him. Specifically, the Code of

 Student Conduct guarantees that a student charged with offenses under the Code will “have a

 reasonable length of time to prepare a response to any charges.” Exhibit 16 (Code, p. 7)




 25
        The “timeline” is also a contract document that was drafted by Brown University. As a
        result, to the extent that the meaning of the term “statement” is ambiguous, the Court
        should interpret the ambiguity in Plaintiff’s favor. See p. 56, supra citing Doe v. Brown
        Univ., 210 F. Supp. 3d 310, 330 (D.R.I. 2016).

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 Notwithstanding, Defendant railroaded John Doe when it provided extensive and complex

 materials related to the charges against him less than four days before the hearing. 26

        The Code makes clear that the minimum amount of time a respondent will receive a copy

 of the case materials will be “at least 7 days” before the hearing. Specifically: “(a)t least seven

 [7] days before the hearing, the case administrator will provide the respondent[s] with written

 notification of the charges, the time and place of the hearing, and a copy of the case

 materials...” Exhibit 16 (Code, p. 17) (emphasis supplied).

        Notwithstanding, on November 17 at 5:17 p.m., less than four days before the hearing,

 John Doe was provided a packet of materials containing witness statements, addendums to these

 statements, medical records from Women and Infants Hospital of Rhode Island, and medical

 records from Brown Health Services. Exhibit 60 (Brown 602). The Women and Infants Hospital

 records alone included 27 pages of very technical medical terms and abbreviations. Exhibit 81

 (Brown 128-154). Dean Castillo confirmed at her deposition that Brown had received these

 medical records by November 3, at the latest. Exhibit 20 (Castillo Deposition, p. 375:6-12).

        John Doe objected to this belated and prejudicial document dump by email on November

 17 at 8:21 p.m., stating:

        (b)ecause of the enormity of the amount of new information received, the three day
        window between now and the hearing date is not a reasonable length of time for me to
        prepare a response to the charges. Pursuant to rights D and E in the list of Student Rights
        and Responsibilities in the Code of Conduct, I am formally requesting a continuance of
        the hearing date. Ideally, I would prefer to clear my name as quickly as possible.
        However, by this Friday, I will not have had an opportunity to provide the panel with
        comprehensive responses to the charges. I hope you will understand my position, and
        respond to my request for a hearing date continuance.




 26
        In contrast, Brown provided all case materials to Jane Doe as soon as they became
        available. Exhibit 70 (Brown 1380, 1385).
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 Exhibit 24 (Brown 1597-98). There is no question that the disclosure of these case materials less

 than four days prior to the hearing did not afford John Doe “a reasonable length of time” to

 prepare a response. Indeed, three of the Brown administrators involved in the process expressed

 their agreement with John Doe’s sentiment:

        First, John Doe’s advisor MaryLou McMillan acknowledged that “this is a lot of material

 to get through and have prepared for a Friday hearing.” Exhibit 52. (Brown 3537).

        Second, when John Doe raised this procedural violation on appeal, Vice Provost Meisel,

 in a red-line edit of the appeal stated the obvious about Brown’s belated disclosure of the case

 materials, noting Brown’s action “does not jibe with the statement in the Code of Student

 Conduct that seems to suggest materials will be made available 7 days in advance.” Meisel then

 quoted the language of the Code to support this view, prompting Dean Castillo to concede “(w)e

 can take a look at clarifying that language for the future.” Exhibit 53 (Castillo Deposition Exhibit

 88).

        Third, Dean Bova acknowledged the complexity of the medical records when he

 exclaimed during the hearing “I’m on Page 97 and in the middle of the page, diagnosis, active. I

 don’t understand what all that means.” Exhibit 54 (SCB Tr. 158/ Brown 2005).

        It cannot be disputed that four days was an insufficient amount of time for a 19-year-old

 student to review and analyze such records, and thereafter be able to formulate a meaningful

 response. The medical records disclosed on November 17 alone would independently warrant

 allowing John Doe at least 7 days to prepare a response. Yet, Dean Castillo summarily denied

 Doe’s request and misstated the Code, claiming that the timetable she provided was “the normal

 course of our process.” Exhibit 24 (Brown 1597).




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        Given the severe implications that a finding of responsibility for sexual misconduct

 would have on his future, there is no question that a student in John Doe’s position would

 reasonably expect to be given more than four days to review witness statements and complex

 medical records, based on the Code’s guarantee that the student shall be afforded a “reasonable

 length of time” to respond to the charges.

        G.      Brown violated its Code of Student Conduct when it deprived John Doe of
                the opportunity to articulate relevant concerns and offer all relevant
                evidence

        Brown’s Code provides that an accused student will be given “every opportunity to

 articulate relevant concerns and issues, express salient opinions, and offer evidence before the

 hearing body or officer.” Exhibit 16 (Code, p. 7). Notwithstanding, Brown violated its Code of

 Student Conduct when it deprived John Doe of the opportunity to offer all evidence relevant to

 his defense including: (i) Facebook photographs of Jane Doe taken the night after the alleged

 incident; (ii) text messages exchanged immediately prior to the sexual encounter; and (iii)

 witness statements attesting to John Doe’s character.

        First, John Doe submitted to Dean Castillo publicly displayed Facebook photographs of

 Jane Doe taken on the day after the alleged assault. The photographs were irrefutably relevant as

 they clearly displayed Jane Doe’s face and portions of her neck and arms, areas that she claimed

 to have sustained injury as a result of her interaction with John Doe. In fact, Dean Castillo

 acknowledged, “I looked at the photos. I thought they were relevant to the case and included

 them in the [hearing] packet.” Exhibit 20 (Castillo Deposition, p. 327:10-12) She further

 explained, “(t)hey were being provided by [John Doe] as a way of countering some of what [Jane

 Doe] was saying in her allegations so I felt it was important to be part of the record and reviewed




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 by the people who would be making those decisions about responsibility.” Exhibit 20 (Castillo

 Deposition, p. 327:14-18).

        Despite the Case Administrator’s determination that the photographs were relevant, Dean

 Bova berated John Doe for offering them as exhibits during the hearing. Dean Bova confronted

 John Doe, stating, “And why are you putting the pictures---I’m sorry to cut you off. Why are you

 showing me all the pictures of her in a tiara?” Exhibit 54 (SCB Tr. 197/ Brown 2044). When

 John Doe explained that the allegations involved injuries purportedly sustained by Jane Doe and

 the pictures, which were taken the night after the encounter, refuted such claims, Dean Bova

 dismissed this evidence out of hand, noting the hospital records (which did not include any

 photographs) told a “very different stor[y]”. Exhibit 54 (SCB Tr. 202/Brown 2049). The

 disregard of this critical evidence violated John Doe’s right to “every opportunity” to present

 relevant evidence to the hearing body.

        Second, John Doe was deprived of every opportunity to offer evidence before the hearing

 body when Brown failed to obtain text messages sent by Jane Doe shortly before her interactions

 with John Doe. The witness statements collected revealed that Jane Doe had sent a group text

 message to some of her friends on the evening of the alleged incident, stating “she might be

 about to hook up with [John Doe]”. Exhibit 3. Though Jane Doe agreed to forward all relevant

 text messages to Detective Peck (Exhibit 56), she selectively provided only those text messages

 that corroborated her account. Curiously, Jane Doe indicated that she would “have to go back

 kind of far” to find the messages exchanged on the night of the incident, even though she readily

 provided the text messages exchanged approximately 12 hours later, the following morning.

 (Exhibit 56) Notwithstanding, neither Detective Peck nor Dean Castillo followed up with Jane




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 Doe or any of the witnesses identified to obtain these messages. Exhibit 20 (Castillo Deposition,

 p. 181:2-182:20).

        Understanding the significance of this text message exchange, on November 15, 2014,

 John Doe requested that Dean Castillo provide him with, “copies of any of the text messages sent

 by [Jane Doe] which are referenced in the witness statements of [K.R.], [L.S.], [D.G.] and

 [C.L.]” Exhibit 57 (Brown 1526). Dean Castillo did not respond to this request. Instead, upon

 receiving the packet of case materials to be submitted to the Student Conduct Board, John Doe

 discovered that the text messages previously requested had not been included in the hearing

 packet. Exhibit 24 (Brown 1597-98). While claiming that such text messages were unavailable,

 Dean Castillo conceded that she in fact made no effort to follow up with Jane Doe or any of the

 witnesses identified to obtain these messages. Exhibit 20 (Castillo Deposition, p. 181:2-182:20).

        Third, Brown denied John Doe the opportunity to offer evidence before the hearing body

 when Dean Castillo arbitrarily redacted portions of L.B.’s statement, a character witness who

 described John Doe as “one of the most reliable, trusting, and trustworthy people I know.”

 Exhibit 58 (Brown 1560). Attributing her authority to the Code’s provision regarding relevant

 evidence, though “it does not explicitly speak to redaction.” Exhibit 20 (Castillo Deposition, p.

 366:12-14). Dean Castillo testified that in her role as Case Administrator, it was within her

 discretion to “decide what’s relevant and when to move forward.” Exhibit 20 (Castillo

 Deposition, p. 366:13).

        Significantly, while the redacted portion of L.B.’s character statement concerned L.B.’s

 view that John Doe was a respectful partner during an intimate encounter, Brown readily

 accepted character witness statements that refuted this view. For instance, Witness K.R. was

 permitted to testify during the hearing concerning her reaction to a prior event in which she was



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 not involved; the Student Conduct Board accepted her statement that John Doe was “someone

 who was involved in something that made me uncomfortable, regarding sexual behavior” which

 Professor Schultz then characterized as “predatory behavior.” Exhibit 54 (SCB Tr. 91/Brown

 1938). Not only did the consideration of character witness statements unfavorable to John Doe,

 and the redaction of character statements favorable to John Doe, represent an inequitable

 process, but it also demonstrated a clear breach of Brown’s policies.

        The cavalier manner in which Dean Castillo approached her role as an investigator and

 her utter disregard for collecting extraordinarily relevant, and potentially exculpatory, evidence

 denied John Doe of his opportunity “to offer a relevant response” as well as his right to have

 “every opportunity to…offer evidence before the hearing body or officer.” A reasonable jury

 could not find otherwise.

        H.      Defendant violated Plaintiff’s contractual right to two (2) days advance
                notice of changes in the Student Conduct Board hearing panel

        Finally, Brown irrefutably violated the following provision of its Code of Student

 Conduct:

             A respondent or complaining witness may request, in writing, that a member of a
             hearing body be disqualified from hearing a case. The request will be made by 9:00
             AM no more than two (2) days after receiving the charge letter and the Request to
             Disqualify Form and will include an explanation as to why the member is unable to
             render an impartial decision in the case.”

 Exhibit 16 (Code, p. 9).

        On November 19, 2014 at 4:39 p.m., Dean Castillo notified John Doe by email that

 “there has been a change in the composition of the panel for the hearing” and that Dean Richard

 Bova had been selected to serve on the Student Conduct Board. Exhibit 59 (Brown 1610). Brown

 cannot dispute that this notification was provided to John Doe less than 48 hours prior to the

 hearing, which was scheduled to proceed on November 21 at 9:00 a.m. Consequently, John Doe


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 was not afforded the requisite two-day period after receiving this notice to consider whether to

 object to the participation of Dean Bova. Brown cannot refute that it violated this provision of its

 Code.

         I.     Brown’s numerous violations of its Code of Student Conduct during
                Plaintiff’s disciplinary process caused direct and proximate harm to John
                Doe

         The third element of a breach of contract claim under Rhode Island law is causation;

 specifically: “the plaintiff must prove that the defendant’s breach was the ‘but for’ cause of the

 alleged damages.” Doe v. Brown Univ., 210 F. Supp. 3d 310, 330 (D.R.I. 2016), citing Wells v.

 Uvex Winter Optical, Inc., 635 A.2d 1188, 1191 (R.I. 1994). As detailed below, each of the

 foregoing breaches were material in that they contributed to Brown’s erroneous finding of

 responsibility and the imposition of a disproportionate 2.5-year suspension.

                1.      Brown’s failure to afford John Doe a presumption of innocence
                        precipitated the finding of responsibility

         Brown’s failure to presume John Doe not responsible of any alleged violations prior to

 the appropriate student conduct hearing directly damaged John Doe in that he was burdened with

 the task of proving his innocence. Upon being notified of Jane Doe’s complaint, the

 administrators responsible for carrying out Brown’s disciplinary process took particular actions

 calculated to confirm their belief that Jane Doe’s narrative was more credible. For instance, as

 discussed supra, Brown evidenced a presumption of guilt against John Doe when: (i) Vice

 President Klawunn ordered his immediate removal from campus prior to speaking with either

 party, interviewing witnesses, or conducting any investigation whatsoever; (ii) Dean Castillo and

 Vice President Klawunn decided to hold a hearing prior to speaking with John Doe or any of his

 witnesses; (iii) Dean Castillo denied his reasonable requests for a continuance of the hearing,

 under the pretext that proceeding on an expedited schedule would be for his own benefit; and (iv)


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 the decision makers involved in John Doe’s case expressed their opinions that when someone

 reports incident of sexual assault, they must be telling the truth.

        In presuming John Doe guilty from the outset, Defendant foreclosed the possibility of

 performing an objective and impartial investigation, making a finding of responsibility

 inevitable.

                2.      Brown’s failure to respond to John Doe’s requests for information
                        precluded him from presenting a meaningful defense, resulting in the
                        erroneous finding
        Brown’s failure to respond to John Doe’s requests during the prehearing phase of the

 disciplinary process deprived him of the ability to prepare a full defense, thus contributing to the

 erroneous finding of responsibility against him. For instance, as outlined at page 72 supra, Dean

 Castillo failed to respond to John Doe’s request that he be provided copies of any text messages

 sent by [Jane Doe] which were referenced in the witness statements of [K.R.], [L.S.], [D.G.] and

 [C.L.], and copies of any additional witness statements. Exhibit 57 (Brown 1526). Given the

 potential exculpatory nature of the text messages in particular, it was critical that John Doe be

 afforded an opportunity to review this evidence. The failure to provide John Doe with this

 information directly damaged John Doe in that it hindered his ability to prepare a comprehensive

 and meaningful defense, again a substantial causal factor in the outcome of his case.

                3.      John Doe was directly damaged by Brown’s failure to afford him an
                        opportunity to articulate all relevant concerns and offer all relevant
                        evidence

        Brown precluded John Doe from offering all relevant evidence when: (i) he was deprived

 of the opportunity to make a midpoint statement during the hearing; (ii) the Student Conduct

 Board failed to consider Facebook photographs of Jane Doe taken the night after the alleged

 incident, which refuted her claims that she suffered injuries to her lips and neck; (iii) Brown



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 failed to collect text messages sent by Jane Doe immediately prior to the sexual encounter that

 revealed her state of mind concerning her interactions with John Doe; and (iv) Dean Castillo

 unilaterally and arbitrarily redacted a witness statement attesting to John Doe’s character.

        It is irrefutable that the Student Conduct Board’s failure to consider all pertinent

 materials directly impacted John Doe; had such materials been available and properly taken into

 account, it is reasonable to conclude that a different outcome may have been reached.

                4.      John Doe was directly damaged by Brown’s failure to provide him
                        with a reasonable length of time to prepare a response to the charges
                        against him
        There is no dispute that John Doe was damaged by Brown’s failure to provide him with a

 reasonable length of time to prepare a response to the charges against him. As discussed supra at

 pages 27-28, less than four days before the Student Conduct Board hearing, Brown provided

 John Doe with a packet of extensive and complex materials including witness statements,

 addendums to these statements, medical records from Women and Infants Hospital of Rhode

 Island, and medical records from Brown Health Services. Exhibit 60 (Brown 602). John Doe

 emphasized the prejudicial nature of this belated disclosure when he requested a continuance of

 the hearing date, stating in part: “by [the hearing date], I will not have had an opportunity to

 provide the panel with comprehensive responses to the charges.” Exhibit 24 (Brown 1597-98). In

 denying John Doe’s reasonable request for additional time to review this new information,

 Brown directly damaged John Doe in that he was not able to fully prepare for the hearing.

        For example, it was not until the evening of November 17 that John Doe received the

 Brown Health Services records from Jane Doe’s office visit of October 15 (four days after her

 encounter with John Doe) that indicated her bruises were of different colors. See Exhibit 61

 (Brown 103-04). Learning this less than four days before the hearing made it impossible for

 John Doe to consult with a physician to investigate whether this circumstance raised a doubt as

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 to whether the bruises were caused at the same time, or if it was likely that any of them were

 caused three days before the doctor visit at which they were observed.

        Had he been afforded a reasonable length of time to review all relevant materials, and

 prepare a response to the charges against him, the erroneous outcome could have been avoided.

                5.     John Doe was damaged when Brown violated its Code by depriving
                       him of the ability to challenge the participation of a hearing panel
                       member
        Finally, John Doe was directly damaged by Brown’s failure to provide him with the

 requisite two-day time period within which to challenge the participation of a Student Conduct

 Board member. During the hearing, Dean Bova berated John Doe for offering photographic

 evidence and dismissed this potentially exculpatory evidence as irrelevant. Had John Doe been

 afforded sufficient time to object to Dean Bova’s participation, it is possible that a different

 hearing panel member would have been selected; one that would fully and objectively consider

 the evidence available before making a determination of responsibility.

        J.      John Doe is entitled to summary judgment with regard to liability on his
                contract claims, as well as a declaratory judgment that the Defendant’s
                finding of responsibility was invalid

        Because the record of undisputed facts contains evidence of breaches of contract and

 causation (either individually or in combination), John Doe is entitled to partial summary

 judgment, including a finding of liability on his contract claims and declaratory relief holding

 that the sanction imposed by the University is invalid. Should the Court grant this relief, the

 contract claims can move forward to an evidentiary hearing on damages.

 IV.    Conclusion

        For these reasons, Plaintiff submits that the Court should (i) deny Defendant’s motion for

 partial summary judgment as to the Complaint’s First Cause of Action (Title IX erroneous

 outcome); and (ii) grant Plaintiff’s cross-motion for partial summary judgment as to liability for

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 the Complaint’s Third Cause of Action (breach of contract) and Seventh Cause of Action

 (declaratory judgment), part ii. Should the Court grant the Motion, Plaintiff will seek a trial on

 additional relief related to this Cause of Action.

                                        Respectfully submitted,
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                                        By his attorneys,

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 February 9, 2018

                                    CERTIFICATE OF SERVICE

        I hereby certify on this 9th day of February, 2018, I served a copy of this Memorandum
 on Defendant’s counsel via the Court’s CM/ECF system.

                                                        /s/Andrew T. Miltenberg
                                                        Andrew T. Miltenberg, Esq.


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